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              MEETING OF THE COMMISSIONERS

                       - - - - -

                   February 20, 2019

                       - - - - -

  COMMISSIONERS PRESENT:

    LISA DEELEY, CHAIRWOMAN
    AL SCHMIDT, COMMISSIONER
    ANTHONY CLARK, COMMISSIONER



  PRESENT:

    JOE LYNCH, ELECTION ACTIVITIES ASSISTANT
               ADMINISTRATOR
    RICHARD VITO



  HELD AT:

     Delaware and Spring Garden Streets
     Philadelphia, Pennsylvania


               REPORTED BY: Kathryn R. Doyle
              Strehlow & Associates, Inc.
                     (215)504-4622
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1           CHAIRWOMAN DEELEY:   Good morning,

2      everyone.    This morning is Wednesday,

3      February 20th, 2019.   I call to order the

4      meeting of the Commissioners, Philadelphia City

5      Commissioners.

6           First, we will hear, is there any public

7      comment?    Please come forward and state your

8      name for the record.

9           MS. RHYNART:    Good morning, City

10     Commissioners.   My name is Rebecca Rhynart,

11     City Controller, City of Philadelphia.

12          I'm here today to reiterate my serious

13     concerns that I raised to the Commissioners in

14     the letter sent by my office on February 8th.

15     I urge you not to vote today on the voting

16     machines.

17          We are the largest county in Pennsylvania,

18     yet your process has not allowed public inputs,

19     with demonstrations of the voting machine, such

20     as Montgomery County and Berks County have

21     done -- having residents use the various

22     technologies and provide feedback is invaluable

23     information, as to which machines we should be

24     purchasing.
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 1          Also, the RFP was written in a way to be

 2     tailored towards the digital screen or ballot

 3     marking device.

 4          Tailoring the RFP to seemingly exclude the

 5     option of hand-marked ballots is not in the

 6     best interest of taxpayers.

 7          Because of the vulnerability of all

 8     electronic voting machines, there is much

 9     written about hand-marked ballots being viewed

10     by experts as more reliable.

11          Security is not a yes or no question.

12     There is a spectrum for how secure a voting

13     machine is.   That is why I recommended in my

14     letter to bring in ballot security experts and

15     use their feedback as part of the selection

16     process.

17          Lastly, this is a significant expense.

18     There was $22 million set aside in the capital

19     program for Fiscal '20, which still needs to be

20     voted on by City Council this spring.   And City

21     Commissioner cost estimates have been upwards

22     of 50 to $60 million.   It is not clear where

23     the, at least, 28 million of remaining funds

24     are expected to be coming from.   With this much
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1      taxpayer money at stake, taxpayers deserve

2      better than this.

3           Please do not vote today, but go back and

4      look to change this process to pick the most

5      secure, reliable voting system that we can.

6      Thank you.

7           CHAIRWOMAN DEELEY:    Thank you.

8           COMMISSIONER SCHMIDT:     Thank you.

9           CHAIRWOMAN DEELEY:    Please state your name

10     for the record, sir.

11          MR. MARSH:     James March, resident of

12     Philadelphia, Pennsylvania.

13          I second all the remarks by Ms. Rhynart --

14     trying to get through all of this.

15          First of all, regarding the lack of public

16     demonstrations of the machines, the machines,

17     to be demonstrated, is required and specified

18     in the RFP on Page 8.     So having failed to have

19     a public demonstration, the City Commissioners

20     and the City are violating and not complying

21     with their own RFP.     That's on Page 8.   It was

22     supposed to take place from January 14th to

23     January 17th, 2019.

24          There are similarly no machine info on the
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1      website of the City Commissioners, of course no

2      public hearings.

3           Of course, the whole process has been

4      extremely secretive.   The best value

5      guidelines, in a number of places, require

6      transparency, Section 1, Section 6.

7           Section 2 requires that scoring should

8      incorporate feedback from stakeholders

9      throughout the City quote, unquote.

10          Regarding the evaluation of the machine,

11     there is no security component in the RFP.     The

12     machines have not been scored for security

13     component, because there's no requirement in

14     the RFP.   I don't think that the City can

15     advocate its requirement to evaluate security

16     in this day and age.   You get no points for

17     good security on your machine.

18          Now, the ES&S machines, specifically, has

19     a technology using bar codes, which has been

20     disapproved by the Blue Ribbon Panel of

21     Pennsylvania, on Page 64.

22          So not only does the RFP give basis for a

23     security evaluation, but this machine, ES&S

24     machine, specifically, fails that test, because
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 1     it uses bar code technology.

 2          Secondly, the RFP favors ES&S, because it

 3     gives a 15 point credit for the, quote,

 4     familiar look and feel.    This obviously favors

 5     them.   And it violates the best value

 6     provisions to avoid favoritism toward vendors.

 7          Also, the ES&S machine, under the

 8     Pennsylvania State Evaluation, pretty much

 9     flunked the disability provisions needed by

10     machines.

11          We're in this time crunch now.    The

12     request for information was issued June 4th,

13     2018.   The request for proposal was not issued

14     until November 30th, 2018.     That's almost six

15     months delay.     And now we're in a time crunch.

16     Why that kind of delay?    What is that about?

17          Why were no outside experts brought in to

18     evaluate these machines?

19          I also refer to Commission Schmidt's trip,

20     private trip, to ES&S in Nebraska -- Omaha,

21     Nebraska, in 2013.    Why do you have to go to

22     Omaha, Nebraska to get a commercial from ES&S

23     about machines?    Was that information shared

24     with the other Commissioners later on?    What is
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1      going on with that?

2           What was going on at the December 7th,

3      2018 and December 10th, 2018 meetings between

4      the manufacturers and the City?   We have a

5      right to know the negotiations that are going

6      on between the City and the manufacturers.

7           And, also, not through any fault of their

 8     own, but the City Commissioners who are running

 9     for re-election have a gigantic conflict of

10     interest here.   They have to get rid of this

11     determination of the voting machines so they

12     can start running for re-election.     This puts

13     an incredible pressure and is a real motivation

14     to truncate and shorten this process

15     inappropriately.   And it's reflected in the

16     actual substance of a poor machine choice.

17          So the procedure is bad.   It's not

18     transparent, contrary to the best value

19     guidelines, and is reflected in bad choice of

20     machines, and a skewing towards the ES&S

21     machines, which as I stated, has significant

22     problems.

23          So as a result, this process should be --

24     the machine choice should not happen today.
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1      The process is flawed, fatally flawed.     And so

2      the ES&S should not be chosen.

3           In fact, there should not be a vote today.

4      There's a timeline that's available that you

5      can continue and have a proper process going

6      forward without truncating this thing today.

7      So there shouldn't be a vote today.    There

8      shouldn't be a vote for ES&S machines for all

9      the reasons stated.

10                 (Round of applause.)

11          CHAIRWOMAN DEELEY:   Thank you.   We will

12     now proceed -- is there any more public

13     comment?

14          Sir, please state your name for the

15     record.

16          MR. STRAHS:   Good morning, again,

17     Commissioners.   I emphasize this again, because

18     we've been here, of course, a number of times

19     before.    And now at the moment where you're

20     apparently going to announce a decision, this

21     feels like a bit of a sideshow.

22          We're giving you our views, you know,

23     there's a slew of concerns, many issues, and,

24     of course, you're not going to be figuring it
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1      out at this point.   You've made your decision,

2      if, in fact, that's what you're going to do

3      today.   And I think it shows, as the whole

4      process does, a certain undermining of the

5      democratic voice that this process so badly

6      needs.

7           With our democracy at risk, and that's a

8      view from all political sides these days, we

9      need smart decisions on new voting systems in

10     Philadelphia.   Yet today, it appears that the

11     voters are going to be given short shrift.

12     Where have you been, Commissioners?   I mean

13     that respectfully.   But given the security

14     issues that are on the front pages day after

15     day, where have you been?

16          The need for hand-marked paper ballots has

17     been established in conjunction with smart

18     computerized systems that can count the vote

19     and then have the vote audited, if necessary,

20     even by hand.

21          Perhaps we shouldn't have been surprised.

22     Of course, the foundation of this process has

23     been your RFP, which was deeply flawed, as

24     we've said before.   Words like cyber security,
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 1     usability, resilience and recovery,

 2     accessibility -- were missing in action when it

 3     came to the grading criteria for the vendor

 4     proposals.

 5           While voters care about safety, accuracy,

 6     and simplicity of the voting process, the RFP

 7     prioritized familiar look and feel over more

 8     advanced systems with improved voter

 9     verification of selections and fewer risk of

10     errors, hacks, shut downs -- basically all the

11     things that can and do go wrong with computer

12     systems.

13           Moreover, the potential of improved ease

14     of use for disabled voters appears to have been

15     squashed, although the ES&S ExpressVote XL met

16     federal certification, the federal report

17     pointed to significant drawbacks.   I'll mention

18     quickly three of them.

19           Quote, none of the participant testers

20     were able to verify their paper ballot on the

21     XL.   They did not know where the ballot was or

22     what to do next.

23           One participant with very low vision put

24     his face so close to the screen, that he
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1      accidentally made selections with his nose.

2           On cost, the ExpressVote and all the

3      computer based voting systems are double the

4      cost of hand-marked systems.    What a bargain

5      for the city in this country with the largest

6      poverty rate, certainly, of any major city.

7           One criteria in the RFP that you did

8      include was reputation.   While ES&S is a

9      leading industry player, it has a notorious

10     reputation.   And by the way, the reason it's a

11     leading player, of course, is through a series

12     of mergers and acquisitions over many, many

13     years.

14          Its latest scrape related to a conflict

15     with congress over the use of remote access

16     software in its vote machine.   After an initial

17     denial of the practice through the press, the

18     company blatantly admitted to deploying the

19     software, which is considered to be a serious

20     security flaw.   It was also discovered that the

21     source code for the application used, had been

22     extracted and was widely available all over the

23     internet.

24          The software maker, not ES&S, warned its
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1      users to disable it.   But Allegheny County used

2      the same software in 2006, while trying to

3      resolve vote disparities after the primary, yet

4      another vulnerability surfaced in 2012.

5      Attackers could seize control of the system

6      with the software without needing any password.

7      It's not clear if election officials around the

8      country fixed these flaws or even that ES&S

9      warned them of the problems.

10          When US Senator Ron Wyden of Oregon

11     recently asked the company which and how many

12     customers were sold machines with the remote

13     software, they refused to answer.

14          ES&S has also been unwilling to say when

15     it had its customers remove the software from

16     the machine.   And when the company was asked to

17     attend the senate hearing in 2018, they didn't

18     bother to show up.   Doesn't go well for all the

19     service calls we're going to need.

20          ES&S needs to stop stonewalling and

21     provide a full honest accounting of equipment

22     that could be vulnerable to remote attacks.

23     When a corporation that makes half of

24     American's voting machines refuses to answer
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1      the most basic cyber security questions, you

2      have to ask what it's hiding.      Those aren't my

3      words.    Those are words from U.S. Senator Ron

4      Wyden.    Thank you.

5           THE COURT REPORTER:      What's your name?

6           MR. STRAHS:    Stephen Strahs.

7           THE COURT REPORTER:      Thank you.

8                   (Round of applause.)

9           MS. GIORDANO:     Hi.

10          CHAIRWOMAN DEELEY:      Hi.

11          MS. GIORDANO:     I am not going to be as

12     well spoken as the proceeding people.       I am

13     very impressed --

14          CHAIRWOMAN DEELEY:      I'm sorry, ma'am.

15     Could you please state your name for the

16     record?

17          MS. GIORDANO:     Dana Giordano.

18          CHAIRWOMAN DEELEY:      Thank you.

19          MS. GIORDANO:     I am here to speak about --

20     to point out some things about the choices

21     you're making today.

22          As it's been said before me, using these

23     machines are insecure and more costly and

24     putting us at risk unnecessarily.       I
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1      understand, though, why you might lean that

2      way, given the report that I just read from the

3      Blue Ribbon Commission.    It is very confusing.

4      It is very long.   And it really says nothing.

5           In the end, though, there are some

6      takeaways from this report that are buried but

7      there.

8           On Page 62 in Section 49, the Commission

9      does not recommend systems with bar code or QR

10     codes, as they are not human readable.     And

11     Page 62 and 53, number 53, as noted above, the

12     Commission does not recommend systems with bar

13     codes or QR codes, as they are not human

14     readable.

15          And I have a quote that I just wanted to

16     read you from computer science Professor Duncan

17     Buell, and this one specifically targets, but

18     they are very similar systems -- the new ES&S

19     voting machine has the ExpressVote, he's

20     talking about, has major problems beginning

21     with the fact that the voter cannot verify the

22     ballot information that will be counted by

23     examining the ballot.     The voter may think that

24     she or he is seeing a list of names that will
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1      be counted, but it is the bar code, not the

2      list, that is being read by the scanner that

3      counts the vote.

4           So we can't tell what the bar code is

5      saying.     And that is why it's a problem.

6           CHAIRWOMAN DEELEY:    Thank you.   Anyone

7      else for public comment?

8           MR. GARELLA:    My name is Rich Garella.

9      Commissioners, purchasing a new voting system

10     is the biggest purchase election officials get

11     to make.    And it only comes along every couple

12     of decades.     The last time it came along in

13     Philadelphia in 2002, Commissioner

14     Tartaglione's daughter ended up with a job

15     contract for the winning company, Danaher

16     Controls.

17          The time before that, in 1970, City

18     Commissioner Thomas McHenry was caught taking

19     kickbacks from Shoup Voting Machine Corporation

20     in exchange for throwing them the contract.       So

21     anyone who thinks that's unthinkable in

22     Philadelphia is not thinking very hard.

23          Now, we come to the procurement of voting

24     systems this year.    It's a contract that will
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 1     be worth tens of millions of dollars, and has

 2     been anticipated since 2015 when these

 3     commissioners were elected, and 2016 when the

 4     City Charter was amended to allow this best

 5     value procurement process.

 6          The amendment that created best value

 7     procurement was pushed through by Councilman

 8     Bobby Henon, Commissioner Deeley's former

 9     employee and strong supporter, who is now under

10     indictment.   So this is not the time to push

11     through a tainted process.

12          In this case, the best value procurement

13     system resulted in a RFP developed without

14     input from actual election integrity experts

15     and without public input into this decision

16     that's critically important for our democracy.

17          An RFP that is a perfect fit for one

18     particular vendor, as the auditor general and

19     the City controller have pointed out.

20          The RFP ignores cyber security completely,

21     ignores accessibility for people with

22     disabilities, ignores resilience, and even

23     ignores storage costs, as if there are no

24     difference between the systems in these
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 1     respects, there are.

 2          The RFP demonstrates perfectly that the

 3     best value procurement system has a hole you

 4     can drive a Brinks truck through.

 5          Now, the Selection Committee hand picked

 6     by these Commissioners, by you, to evaluate

 7     proposals, maybe including some people in this

 8     room -- evaluates the proposals using scoring

 9     criteria from an RFP that you, the

10     Commissioners, wrote.   And they've recommended,

11     apparently, two proposals.   One of them, the

12     ES&S ExpressVote XL is obviously the voting

13     system that the RFP was written for.    This is

14     obvious to anyone familiar with the machines.

15          In the face of widespread criticism, it

16     seems the Selection Committee has pulled back

17     and now recommends an additional proposal from

18     Dominion.

19          This could have been an open process with

20     public input and transparency and

21     accountability.   It could still be if you stop

22     right now and abort this effort.     Or at least

23     if you select the Dominion Image Cast, which

24     provides a pathway to real paper ballots that
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1      are hand marked, which is the gold standard for

2      election integrity.

3           If I'm right, you will chose the ES&S

4      system, the worst and most expensive system.

5      With Dominion as a meaningless fallback

6      intended only to deflect criticism of this

7      terrible, opaque, corruptible, procurement

8      process.   And we will end up with the most

9      expensive, least secure, least future proofed

10     voting system on the market today.

11          Now, I want to put my objection to your

12     vote on the record, because I believe you

13     should already be recused from decision.         But

14     if you go ahead, I urge you to reject the

15     recommendation, which comes from a fatally

16     flawed procurement process, and restart the

17     procurement.   There's plenty of time.      I urge

18     you to reject it and prove me wrong.

19          CHAIRWOMAN DEELEY:        Thank you.

20          MS. STRAUSS:     Hello.    This is -- I'm

21     Sharon Strauss.     I live in Mount Airy, in the

22     Mount Airy neighborhood.        I'm supposed to put

23     my name here; is that right?

24          CHAIRWOMAN DEELEY:        You can just say your
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1      name for the record.   That's fine, too.

2           MS. STRAUSS:    Okay.   So first of all, I'd

3      like to thank all the speakers who came before,

4      who spoke far more knowledgeably and eloquently

5      than I'm going to.

6           I'm just going to say that I -- this is

7      like the first process that I've really been

8      involved in, in city politics, where I went to

9      meetings and I spoke and I followed what's

10     going on.    And I have to say, it has not been a

11     good experience for me.

12          I came into this hoping that citizens

13     would have good input -- maybe we still will,

14     maybe you'll reject the ES&S decision.     But as

15     you've heard from so many people, there is

16     reason after reason not to pick ES&S.    There is

17     zero reasons to pick ES&S.     The RFP process

18     stunk.   There were no public input in the RFP.

19     There were two public comment sessions, which

20     were announced with one week notice.     This is a

21     40, 50, 60 maybe even $70 million decision.

22     And like, it's barely mentioned on your

23     website.    It's mind boggling to me.

24          I have been like personally going around
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 1     to friends, neighbors, anybody I can, to tell

 2     them about this process, which many, many

 3     people do not know about.   And everybody that

 4     I've talked to said, Really?     How can this be?

 5          And you've probably gotten calls from many

 6     of the people that I talked to, because many of

 7     them told me they had called your office or

8      they were going to call your office.    And your

9      decision process that you mentioned at the

10     earlier meeting said you were going to take

11     those public comments into effect, into your

12     decision making process, and hopefully you are.

13          The only good reason that I've heard to go

14     with a ballot marking device, which is not --

15     is because it is more accessible, people have

16     spoken at different meetings saying they want

17     the same system for everybody.     That makes

18     sense to me.   But the ES&S system is not

19     accessible.    We've already heard testimony that

20     talked about how it's not accessible.

21          And furthermore, this is all supposed to

22     go along with the Blue Ribbon Commission that

23     came out about election systems.    And in the

24     Blue Ribbon Commission, I will quote, it
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 1     says -- let me find it -- on Page 62 or maybe

 2     it's 64 -- the Commission, it says it twice,

 3     the Commission does not recommend systems with

 4     bar codes or QR codes as they are not human

 5     readable.     It says that right in the Blue

 6     Ribbon Commission report.

 7            And it has been known -- you cannot do

 8     risk limiting audits on bar code systems.

 9     Every single security expert says, Do not get a

10     BDM.    Get a hand-marked paper ballot.     It's

11     simple.

12            For me in the Northwest where we have a

13     high turn out on the voting lines -- I've had

14     long lines.    If you have paper ballots, you

15     don't have long lines.      It's just the way to

16     go.    And I hope you will go that way.

17            And if you do not go that way, I'm going

18     to do everything in my power to fight that

19     decision.

20                   (Round of applause.)

21            CHAIRWOMAN DEELEY:    Thank you.   Is there

22     any more public comment?

23                     (No response.)

24            CHAIRWOMAN DEELEY:    Thank you.   We will
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1      proceed to the report from the supervisors.

2      Joe Lynch?

3           MR. LYNCH:   Good morning, Commissioners.

4           CHAIRWOMAN DEELEY:     Good morning, Joe.

5           MR. LYNCH:   Notes from the County Board of

6      Elections for today's date, February 20th.

 7          The County Board has accepted absentee

 8     applications for both the March special

 9     election and the primary election.     Just

10     remember, however, the applications will not be

11     processed until 50 days before the election.

12          As of today, the County Board has received

13     six alternative absentee applications, four

14     civilian applications for the special election

15     on March 12th.

16          As of today, the County Board has received

17     65 civilian absentee applications, 29

18     alternative applications, and eight civilian

19     overseas applications for the May 21st primary

20     election.

21          Just a reminder that Cycle 7 Annual

22     Campaign Finance Reports are mostly all in.      We

23     are still sending out notification and fine

24     letters for late reports.
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1           Also, a reminder petitions for the

2      upcoming primary elections for municipal

3      offices such as Mayor, City Council, City

4      Commissioners, sheriff, register wills, are now

5      available on our website,

6      Philadelphiavotes.com, and in Room 142 City

7      Hall.

8           So far everything is running pretty

9      smooth.   With the petition process.   The start

10     day -- February 19th was the first day you

11     could circulate and March 12th is the last day,

12     which is also the same day as the special

13     election.

14          So far, the petitions that were downloaded

15     from our website are as follows:    For mayor, we

16     had seven Democrats, five Republicans.     For

17     City Commissioner, 19 Democrats, one

18     Republican.    Register of Wills, six Democrats,

19     zero Republicans.   Sheriff, four Democrats, one

20     Republican.    Counsel at Large, 39 Democrats, 10

21     Republicans.   District Council, the 1st

22     District, two Democrats, one Republican.     2nd

23     Councilmanic District, two Democrats, one

24     Republican.    3rd Councilmanic District, three
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                                                                  24



1      Democrats, zero Republicans.    4th Councilmanic,

2      four Democrats, one Republican.   5th

3      Councilmanic, four Democrats, one Republican.

4      6th Councilmanic, four Democrats, two

5      Republicans.   7th Councilmanic, two Democrats,

6      zero Republican.    8th Councilmanic, three

7      Democrats, zero Republicans.    9th Councilmanic,

8      three Democrats, zero Republicans.      10th

9      Councilmanic, three Democrats, one Republican.

10     That's it for the County Board report.

11          The warehouse, as of today, they are doing

12     the battery upgrade and split test -- is

13     complete for the old special election machines.

14     The guys are back doing the PM test for the

15     primary machines.

16          Polling Place Unit, all polling sites are

17     set for the special election.   Cards for the

18     polling pertaining to the primary election will

19     be mailed out starting next week.

20          Election Board Unit are tightening up

21     their spreadsheets pertaining to the special.

22     They are going to start making calls to all the

23     board workers for the primary election.

24          Election Activity Unit is continuing to
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1      work on the material.     The absentee ballot for

2      the special is just about completed.     The pink

3      sheets were ordered.    And hopefully, we'll

4      receive them by the end of this week or early

5      next week.   And that's it for me, for my

6      report.

 7          CHAIRWOMAN DEELEY:     Thank you, Joe.    Rick

8      Vito?

9           MR. VITO:   Good morning, Commissioners.

10          CHAIRWOMAN DEELEY:     Good morning, Rick.

11          MR. VITO:   The mail room just sent out

12     2,000 ID cards and are working on the street

13     lists for the special election for the 190th.

14          The Dupe Room are still filing the 2018

15     general paper applications.

16          The Imaging Room are working on electronic

17     ballots that came in yesterday and are still

18     coming in day by day.

19          The Data Room has about 500 paper

20     applications that they're entering as of today.

21     And they are still proofing.

22          And that's it for downstairs.

23          CHAIRWOMAN DEELEY:     Thank you, Rick.

24          MR. VITO:   Thank you.
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1           CHAIRWOMAN DEELEY:    Any old business?

2           COMMISSIONER SCHMIDT:    I have none.

3           CHAIRWOMAN DEELEY:    Hearing none, we'll

4      proceed with new business.

5           So first, I would like to, again, thank

6      everyone for coming out.     I always say that

7      this is what is great about Philadelphia,

8      people who get involved, despite the forecast

9      of snow, people taking off from work or leaving

10     their homes to observe the democratic process.

11     And there is nothing more important to

12     democracy than how we vote.

13          Today is a momentous day.    Today we will

14     vote on the adoption of a new voting system

15     with an auditable voter verifiable paper

16     ballot.   This system will include both

17     electronic poll books and a new voting system

18     for use in Philadelphia.

19          First, I know that nobody is happy about

20     the speed of the process, including us.

21          In The Inquirer yesterday, the Department

22     of State perfectly articulated the foot that is

23     on our throat.   They are planning on

24     decertifying our current system in early 2020.
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 1     If we do not act now, we risk not being able to

 2     have an election next year.

 3          Any criticism about the rush to procure a

 4     new voting system should be directed to the

 5     Governor and the Department of State, because

6      we are just doing what is best for the voters

7      given the circumstance.

8           I, along with you, wish that this process

9      was better.     Despite my efforts to be more

10     transparent about the Selection Committee's

11     work and the bids that were submitted in

12     response to the RFP, we are limited by the

13     City's procurement rules, including strict

14     confidentiality requirements, which are we are

15     respecting.

16          Through my relentless insistence, I was

17     able to get the procurement's Commissioners

18     letters released, which I hope will help

19     explain the selection process and work of the

20     Selection Committee and procurement

21     commissioner.

22          Since we've kicked off this five week

23     conversation, we have heard from members of the

24     public, both during these meetings, through the
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 1     mail, emails, and calls to our offices.

 2          To further encourage public participation,

 3     I mailed a letter to every elected judge of

 4     elections in the City and encouraged them to

 5     contact my office and offer their opinion.     I

 6     have been to meetings all over the City to

 7     discuss new voting systems, and whole ward

 8     party committee have passed resolutions

 9     expressing their preference.

10          I met with representatives from the

11     Committee of 70, Neighborhood Networks,

12     Disability Rights PA, Verified Voting, Common

13     Cause, League of Women Voters, the Office of

14     Immigrant Affairs and the NAACP.

15          As I get ready to make these motions, I

16     just want to clear one thing up.   Some have

17     publicly claimed that this process was biased

18     against hand-marked paper ballots from the

19     beginning.   It was not.

20          The Help America Vote Act of 2002,

21     commonly referred to as HAVA, requires us to

22     supply at least one ballot marking device to

23     each polling place.

24          Therefore, the RFP was written with that
     Case 2:16-cv-06287-PD Document 123-2 Filed 12/12/19 Page 37 of 77
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1      requirement in mind -- to find the best system

2      for Philadelphia, regardless if we chose to go

3      hand-marked paper or all BMD.

4           During this time, I heard from a very

5      passionate group of people advocating for

6      hand-marked paper ballots.    Truly, their

7      commitment should be applauded, as it really

8      had an effect on the process.

9           The Selection Committee, at our request,

10     devoted an entire meeting examining the

11     positives of hand-marked paper ballots.      I

12     weighed this feedback and gave it serious

13     consideration.    I am sure my fellow

14     Commissioners did the same.   But for many

15     reasons, my motion will be for all ballot

16     marking device options.

17          I heard from many more people who do not

18     want us to change the machine at all.   The

19     average citizen just wants to be able to vote

20     in the easiest, least complicated manner

21     possible.   When you tell them why we have to

22     make this change, their request is to make it

23     as similar to the machines they are accustomed

24     to as possible.
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 1          We already have a daunting task of

 2     compressing voter and poll worker training

 3     after the machines have been acquired into just

 4     a few months so they can be used in the 2019

 5     general election.   Adding new elements to the

 6     voting process would make this even more

 7     difficult.

 8          Furthermore, though we've received solid

 9     arguments for hand-marked ballots, those

10     arguments were unable to outweigh my concerns

11     about the ability of the public and our poll

12     workers to adapt to this change.

13          The effect of the physical footprint

14     inside the polling places and the questions

15     that arise with voter intent and not wanting

16     judges to decide what is and isn't a vote.

17          Finally, and most importantly, the

18     advocates for the disabled community have been

19     very passionate that implementing hand-marked

20     paper ballots would treat voters with

21     disabilities unequally by requiring them to use

22     a separate voting system.

23          But we are blessed to be able to consider

24     two great voting systems and two great poll
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1      book systems.

2           Philadelphia will be getting a system that

3      is secured, resilient, and will have an

4      auditable paper ballot.   Yes, it will be

5      secure.

6           The security experts at the University of

7      Pittsburgh and the Blue Ribbon Commission on

8      Pennsylvania's Election Security released their

9      study, where they recommended that all counties

10     implement, quote, Systems using voter marked

11     paper ballots, either by hand or by machine

12     before 2020, and preferably for the 2019

13     election, end quotes.

14          All systems that are certified by the

15     Department of State meet this recommendation

16     and certification by the Department of State

17     was a requirement of the RFP.   This includes

18     voting systems that utilize QR or a bar code.

19     Regardless of the use of bar codes, all systems

20     must contain human readable elements on paper

21     ballots for voter verification.   It will be

22     resilient.

23          Both of these systems that have been

24     recommended by the Procurement Commissioner
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1      come with back up batteries so voters are able

 2     to keep casting votes even if the power goes

3      out.

4             In addition, the Department of State

5      guidelines already require us to send emergency

6      paper ballots to the polling places in case

 7     machines are unable to function.

8             Lastly, both these systems will bring a

9      paper trail to Philadelphia voting.    Voters

10     cannot only verify their paper ballot before

11     they cast their vote, but after the election,

12     those ballots will be available for a recount

13     if need be.

14            Also, this will allow us to do more in

15     depth audits of votes per the new risk limiting

16     audit procedure being developed by the State.

17            As a housekeeping, we will do the vote for

18     electronic poll books first.    Then we will move

19     on to the voting systems.

20            I motion that we adopt KnowInk as our

21     electronic poll book vendor.    I say this

22     because while both companies utilize very

23     similar products, KnowInk has separated itself

24     by offering greater flexibility in both design
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                                                                  33



1      of its poll book and its dealings with the

2      City.   The poll book offers greater flexibility

3      of integration options with two voting system

4      options.

5           And as the procurement commissioner has

6      informed us, KnowInk is willing to accept the

7      terms and conditions in the City's contract

8      without exception.    This will lead to an

9      efficient contract execution, which is very

10     important, because on this shortened timeline,

11     we should keep these things moving and on

12     schedule.

13          Therefore, I move that under authority

14     granted to the Board of Elections under Article

15     3, Section 302 of the Pennsylvania Election

16     Code, the Board of Elections approve KnowInk,

17     LLC electronic poll books for use of

18     Philadelphia elections.    And we therefore

19     approve of the City of Philadelphia contracting

20     with KnowInk, LLC for the purchase of poll

21     books with the goal that the new electronic

22     poll book system shall be in use throughout

23     Philadelphia for the 2019 general election on

24     November 5th, 2019.    All subject to the
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1      negotiation of acceptable terms and conditions

2      and the conformance of a contract by the

3      procurement department.

4           COMMISSIONER SCHMIDT:   I second that

5      motion.

6           CHAIRWOMAN DEELEY:   All in favor?

7           COMMISSIONER SCHMIDT:   Aye.

8           CHAIRWOMAN DEELEY:   Aye.   Thank you.

9           Voting machines, for a voting system, I'm

10     going to propose that we get the Election

11     System and Software, LLC, ExpressVote XL voting

12     machine.

13          I say this because I truly believe that

14     this is the best certified electronic voting

15     system for the voters and poll workers of

16     Philadelphia.   It is an all in one system.    It

17     will arrive at the polling places ready to go.

18     All the poll workers will need to do is wheel

19     it in place, plug it in, and turn it on like

20     our current system.   If it is easier to train

21     the poll workers on the set up of the machines,

22     then we can focus more of the training on the

23     electronic poll books, something they have

24     never seen before.
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 1          Furthermore, it offers a familiar look and

 2     feel that will make the transition on our

3      voters much easier.   And for our larger races,

4      it also is able to display the names of all

5      candidates on one screen, whereas other

6      displays could not.

7           Lastly, it is ADA compliant, and allows

8      voters with limited sight to mark their ballot

9      and verify with audio, both before printing and

10     after printing the ballot.

11          Therefore, I move that under authority

12     granted to the Board of Elections, under

13     Article 3, Section 302 of the Pennsylvania

14     Election Code, the Board of Elections approve

15     Election Systems & Software LLC's ExpressVote

16     XL voting machine with the DS450 tabulation

17     system for use in Philadelphia elections.

18          And we therefore approve of the City of

19     Philadelphia's contracting with the Election

20     Systems & Software for the purchase of

21     ExpressVote XL voting machines and DS450

22     tabulation system with the goal that this

23     system shall be in use throughout Philadelphia

24     for the 2019 general election on November 5th,
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 1        2019.   All subject to the negotiations of

 2        acceptable terms and conditions and the

 3        conformance of the contract by the Procurement

 4        Department?

 5              COMMISSIONER SCHMIDT:       I second the

 6        motion.

 7              CHAIRWOMAN DEELEY:      All in favor?

 8              COMMISSIONER SCHMIDT:       Aye.

 9              CHAIRWOMAN DEELEY:      Aye.

10              COMMISSIONER SCHMIDT:       I have no new

11        business.

12              CHAIRWOMAN DEELEY:      The meeting is

13        adjourned to the Call of the Chair.

14                      -   -   -   -   -

15     (Whereupon the hearing concluded at 11:40 a.m.)

16                      -   -   -   -   -

17

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                                                                  37



1

2               C E R T I F I C A T I O N

3

4                         I, hereby certify that the

5               proceedings and evidence noted are

6               contained fully and accurately in the

7               stenographic notes taken by me in the

8               foregoing matter, and that this is a

9               correct transcript of the same.

10

11              ___________________________

12              Kathryn Doyle
                Court Reporter - Notary Public
13

14

15                        (The foregoing certification of

16              this transcript does not apply to any

17              reproduction of the same by any means,

18              unless under the direct control/or

19              supervision of the certifying reporter.)

20

21

22

23

24
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        EXHIBIT “2”
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Ship Date                     Shipment Unit Qty   Truck Qty    Delivery Date
Friday, April 26, 2019        83                  1           Monday, April 29, 2019
Thursday, June 13, 2019       160                 2           Monday, June 17, 2019
Friday, June 14, 2019         240                 3           Tuesday, June 18, 2019
Monday, June 17, 2019         240                 3           Wednesday, June 19, 2019
Tuesday, June 18, 2019        160                 2           Thursday, June 20, 2019
Wednesday, June 19, 2019      240                 3           Friday, June 21, 2019
Friday, June 21, 2019         240                 3           Monday, June 24, 2019
Monday, June 24, 2019         160                 2           Wednesday, June 26, 2019
Tuesday, June 25, 2019        160                 2           Thursday, June 27, 2019
Wednesday, June 26, 2019      160                 1           Friday, June 28, 2019
Friday, June 28, 2019         160                 3           Monday, July 1, 2019
Monday, July 1, 2019          80                  1           Wednesday, July 3, 2019
Wednesday, July 3, 2019       80                  1           Friday, July 5, 2019
Wednesday, July 3, 2019       240                 3           Monday, July 8, 2019
Monday, July 8, 2019          80                  1           Thursday, July 11, 2019
Tuesday, July 9, 2019         80                  1           Thursday, July 11, 2019
Wednesday, July 10, 2019      78                  1           Friday, July 12, 2019
Friday, July 12, 2019         160                 2           Monday, July 15, 2019
Monday, July 15, 2019         80                  1           Wednesday, July 17, 2019
Tuesday, July 16, 2019        80                  1           Thursday, July 18, 2019
Wednesday, July 17, 2019      80                  1           Friday, July 19, 2019
Friday, July 19, 2019         160                 2           Monday, July 22, 2019
Monday, August 5, 2019        60                  1           Thursday, August 8, 2019
Tuesday, August 6, 2019       60                  1           Thursday, August 8, 2019
Wednesday, August 7, 2019     62                  1           Friday, August 9, 2019
Monday, August 12, 2019       124                 3           Wednesday, August 14, 2019
Monday, August 12, 2019       62                  1           Thursday, August 15, 2019
Tuesday, August 13, 2019      120                 1           Thursday, August 15, 2019
Wednesday, August 14, 2019    61                  1           Saturday, August 17, 2019
Total                         3750                49
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        EXHIBIT “3”
                              Case 2:16-cv-06287-PD Document 123-2 Filed 12/12/19 Page 50 of 77


       day       start      end      ward div              address                zip                               event

 1    7-Jun-19 11:00 AM 1:00 PM         5   24   51 N 12th St                    19107   Reading Terminal Market (Center Court across from Brass Pig)
 2    7-Jun-19 9:00 AM 5:00 PM          5   30   520 N Columbus Blvd             19123   Voter Registration Office 5th FL
 3    8-Jun-19 12:00 PM 4:00 PM        54   22   2228 Cottman Ave                19149   Northeast Regional Library
 4   10-Jun-19 1:00 PM 5:00 PM         66   30   11099 Knights Rd                19154   Katharine Drexel Library
 5   11-Jun-19 3:00 PM 5:45 PM         63    3   501 Rhawn St                    19111   Fox Chase Library
 6   13-Jun-19 11:00 AM 1:00 PM         5   24   51 N 12th St                    19107   Reading Terminal Market (Center Court)
 7   13-Jun-19 7:00 PM 8:30 PM         35    3   7040 Oxford Ave                 19111   Burholme Townwatch and Civic Association
 8   14-Jun-19 9:00 AM 12:00 PM         8   15   1400 JFK Blvd                   19107   City Hall Room 195 Jury Room
 9   14-Jun-19 3:00 PM 7:00 PM          1    3   1430 E Passyunk Ave             19147   South Philadelphia Older Adult Center

10   14-Jun-19 10:00 AM    2:00 PM     49 21 5325 Old York Rd                    19141 State Representative Kinsey's Senior Fair - The Yorkhouse
                                                                                       Veterans on the Move Fest - West Philadelphia Senior
11   14-Jun-19 12:00 PM    3:00 PM      6 14 1016 N 41st St                      19104 Community Center

12   15-Jun-19 11:00 AM    4:00 PM      8 15 1400 JFK Blvd                       19107 Disability Pride Parade & Celebration - City Hall Courtyard
                                                                                       35th Ward Town Hall and Health Fair - Lawncrest Recreation
13   15-Jun-19 11:00 AM    1:00 PM     35 10 6000 Rising Sun Ave                 19111 Center
                                                                                       Congressman Brendan Boyle's Senior Expo - Lincoln High
14   15-Jun-19 10:00 AM 1:00 PM        64    4 3201 Ryan Ave                     19136 School
15   17-Jun-19 1:00 PM 5:00 PM          9    7 8711 Germantown Ave               19118 Chestnut Hill Library
16   17-Jun-19 11:30 AM 12:30 PM       58    3 10100 Jamison Ave                 19116 NORC Monthly Meeting

17   18-Jun-19   7:00 PM   9:00 PM     23    4 1010 Arrott St                    19124 Northwood Civic Assocation - Simpson Recreation Center

18   19-Jun-19   6:00 PM 7:00 PM        8   15   50 S 16th St 37th FL Board Rm   19103 8th Ward Dem Committee Meeting
19   19-Jun-19   9:00 AM 12:00 PM       8   15   1400 JFK Blvd                   19107 City Hall Room 195 Jury Room
20   19-Jun-19   1:00 PM 5:00 PM       57    6   9233 Roosevelt Blvd             19114 Welsh Road Library
21   20-Jun-19   6:00 PM 7:30 PM       13   20   1939 W Venango St               19140 13th Dem Ward Demo
22   20-Jun-19   3:00 PM 6:00 PM       21   43   705 E Cathedral Rd              19128 Andorra Library
                                                                                       Upper Holmesburg Civic Association - St. Dominic's Marian
23   20-Jun-19   7:00 PM 8:30 PM       57 18 8512 Frankford Ave                  19136 Hall
24   21-Jun-19   9:00 AM 12:00 PM       8 15 1400 JFK Blvd                       19107 City Hall Room 195 Jury Room


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       day      start      end      ward div             address            zip                                event
                                                                                   Senior Community Services Fair - Northeast Family Service
25   21-Jun-19 10:00 AM   1:00 PM     41 25 7340 Jackson St                19136   Center
26   21-Jun-19 11:00 AM   1:00 PM      5 24 51 N 12th St                   19107   Reading Terminal Market (Center Court)
27   22-Jun-19 11:00 AM   3:00 PM     61 12 101 E Godfrey Ave              19120   Community Fair
                                                                                   Community Carnival and Health Fair - Second Macedonia
28   22-Jun-19 11:00 AM 4:00 PM       49   17   1301 W Ruscomb St          19141   Baptist Church
29   24-Jun-19 1:00 PM 5:00 PM        57    6   9233 Roosevelt Blvd        19114   Welsh Road Library
30   25-Jun-19 7:30 PM TBA            31   18   2600 Aramingo Ave          19125   Olde Richmond Civic Association
31   25-Jun-19 9:30 AM 12:00 PM        8   10   1904 Walnut St             19103   The Church of the Holy Trinity
32   25-Jun-19 3:00 PM 5:45 PM        39    7   200 Snyder Ave             19148   Whitman Library
33   26-Jun-19 9:00 AM 12:00 PM        8   15   1400 JFK Blvd              19107   Jury Duty Demo
34   26-Jun-19 6:00 PM TBA             3   11   700 Cobbs Creek Pkwy       19143   Ward Meeting
35   26-Jun-19 10:00 AM 2:30 PM       32   16   1936 N Judson St           19121   Job Fair
36   26-Jun-19 2:00 PM 4:00 PM        23   18   1824 Foulkrod St           19124   Whitehlall Residents Council
37   27-Jun-19 6:00 PM 7:00 PM         8    7   22 S 22 St                 19103   DC 47 Delegate Assembly
38   27-Jun-19 2:00 PM TBA            61   24   600 W Cheltenham Ave       19126   Cheltenham Nursing and Rehabilitation Center
39   27-Jun-19 5:00 PM 7:30 PM        22    2   6757 Greene St             19119   West Mt. Airy Neighbors Annual Meeting
40   27-Jun-19 7:15 PM 8:30 PM        50   28   7210 Ogontz Ave            19150   W O L Older Adult Center
41   28-Jun-19 9:00 AM 12:00 PM        8   15   1400 JFK Blvd              19107   Jury Duty Demo

42   28-Jun-19 11:00 AM   1:00 PM      5 24 51 N 12th St                   19107 Reading Terminal Market (Center Court across from Brass Pig)
                                            4700 Wissahickon Ave Bldg A
43   28-Jun-19 12:00 PM 4:00 PM       38 17 Ste 126                        19144   Resources for Human Development
44   29-Jun-19 1:00 PM 3:00 PM        12 14 50 E Wister St                 19144   Elders Place
45   29-Jun-19 11:00 AM 3:00 PM       59 17 5800 Germantown Ave            19103   Unity Day - Vernon Park
46   30-Jun-19 9:30 AM 12:30 PM        5 26 20 N American St               19106   Indepence Day Celebration
47   30-Jun-19 12:00 PM 3:00 AM        3 10 520 S 61st St                  19143   Community Block Party

48    1-Jul-19 9:00 AM    4:00 PM      5 16 525 Arch St                    19106 All-American Celebration 2019 - National Constitution Center
49    2-Jul-19 11:00 AM   2:00 PM     52 1 5050 Parkside Ave               19131 State Senator Vincent Hughes Senior Fair

50    2-Jul-19 9:00 AM    4:00 PM      5 16 525 Arch St                    19106 All-American Celebration 2019 - National Constitution Center
51    2-Jul-19 11:00 AM   1:00 PM      5 24 51 N 12th St                   19107 Reading Terminal Market (Center Court)


                                                                       2
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      day          start    end    ward div           address                zip                               event
52    3-Jul-19    9:00 AM 12:00 PM    8 15 1400 JFK Blvd                    19107 Jury Duty Demo

53    3-Jul-19 9:00 AM       4:00 PM    5 16 525 Arch St                    19106 All-American Celebration 2019 - National Constitution Center
54    3-Jul-19 10:00 AM      1:00 PM   36 37 1401 S 16th St                 19146 Reed Street Presbyterian Apartments

55    4-Jul-19    9:00 AM    4:00 PM    5   16   525 Arch St                19106   All-American Celebration 2019 - National Constitution Center
56    5-Jul-19    9:00 AM   12:00 PM    8   15   1400 JFK Blvd              19107   Jury Duty Demo
57    8-Jul-19    7:30 PM    8:15 PM    5   31   990 Spring Garden St       19123   Aravea Public Voting System Demo
58    8-Jul-19    9:00 AM    3:00 PM    8   15   1401 JFK Blvd              19107   Municipal Services Building Voting System Demo
59    8-Jul-19   10:00 AM   11:45 AM   31   16   2607 E Cumberland St       19125   St. Anne's Senior Citizens Center
60    9-Jul-19   11:00 AM    1:00 PM   24    6   3901 Market St             19104   Lobby
61   10-Jul-19    9:00 AM   12:00 PM    8   15   1400 JFK Blvd              19107   Jury Duty Demo
62   10-Jul-19    9:30 AM    1:30 PM   47    9   2100 W Cecil B Moore Ave   19121   MLK Older Adult Center Voting System Demo
63   10-Jul-19    9:00 AM   11:00 AM   56   20   8101 Bustleton Ave         19152   Northeast Older Adult Center
64   10-Jul-19   10:00 AM    2:00 PM    4    8   5600 Race St               19139   Haddington Elderly
65   10-Jul-19    5:00 PM    8:00 PM   41   12   6742 Torresdale Ave        19135   Tacony Library
66   11-Jul-19    6:30 PM    8:30 PM   21    6   175 Green Ln               19127   Manayunk Neighborhood Council Meeting
67   11-Jul-19   11:00 AM    1:00 PM    5   24   51 N 12th St               19107   Reading Terminal Market Voting System Demo
68   11-Jul-19   12:00 PM    3:00 PM   50   10   1500 Wadsworth Ave         19150   Wadsworth Library
69   12-Jul-19   12:00 PM    3:00 PM    8   15   1400 JFK Blvd              19107   Councilwoman Jannie Blackwell Birthday Bash
70   12-Jul-19    9:00 AM   12:00 PM    8   15   1400 JFK Blvd              19107   Jury Duty Demo
71   12-Jul-19   11:00 AM    2:30 PM   40    5   2100 S 58th St             19143   Mary Field Apts /Community Room
72   12-Jul-19    9:00 AM    1:00 PM   32    2   1900 N 20th St             19121   Everybody Ready Public Health Preparedness Training

73   12-Jul-19 12:00 PM      2:00 PM   57 26 16 Old Ashton Rd               19152 Rep. Ed Neilson's 2020 Census Job Recruiting Workshop
74   12-Jul-19 10:00 AM      2:00 PM    4 8 5600 Race St                    19139 Shipping / Community Room
75   12-Jul-19 12:00 PM      4:00 PM   50 28 2000 Washington Ln             19138 West Oak Lane Library

76   14-Jul-19 2:00 PM       5:00 PM   25 1 2733 E Clearfield St            19134   Veterans Appreciation BBQ - Veteran's Boxing Association
77   15-Jul-19 12:00 PM      4:00 PM   51 5 1201 S 51st St                  19143   Kingsessing Library
78   15-Jul-19 4:00 PM       8:00 PM   22 11 6945 Germantown Ave            19119   Mount Airy Monday Market
79   15-Jul-19 9:00 AM       3:00 PM    8 15 1401 JFK Blvd                  19107   Municipal Services Building Voting System Demo
80   16-Jul-19 12:00 PM      2:00 PM    5 21 219 Spring Garden St           19123   Democratic City Committee


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       day        start    end    ward div          address                   zip                                 event
 81   16-Jul-19 10:00 AM 11:00 AM   14 10 827 N Franklin St                  19123   Dining Hall
 82   16-Jul-19 11:00 AM 2:00 PM    58 37 11048 Rennard St                   19116   Northeast Adult Day Care
 83   16-Jul-19 1:30 PM 3:00 PM      5 22 509 S Broad St                     19147   Philadelphia Senior Center Voting System Demo
 84   16-Jul-19 6:00 PM 7:30 PM     47 6 1718 W Cecil B Moore Ave            19121   Philly NAN Voting System Demo
                                                                                     Community Health Fairs and Farmer's Market - South
 85   16-Jul-19 3:00 PM 5:30 PM        36   29   1700 S Broad St             19145   Philadelphia Library
 86   16-Jul-19 6:30 PM TBA            35    8   6200 Rising Sun Ave         19111   Lawncrest Civic Association Meeting
 87   17-Jul-19 9:00 AM 12:00 PM        8   15   1400 JFK Blvd               19107   Jury Duty Demo
 88   17-Jul-19 1:00 PM 3:00 PM        12   15   18 W Chelten Ave            19144   Interfaith House
 89   17-Jul-19 1:00 PM 5:00 PM        34   41   7422 Haverford Ave          19151   Overbrook Park Library
 90   17-Jul-19 10:00 AM TBA           11    9   1531 W Tioga St             19140   Presbyterians' Inspired Life
 91   17-Jul-19 10:00 AM 4:00 PM       11   16   2104 W Venango St           19140   Venango House Apartments
 92   18-Jul-19 10:00 AM 2:00 PM        7   10   3825 Whitaker Ave           19124   Comhar Inc.
 93   18-Jul-19 2:00 PM 3:30 PM        44    2   5300 Media St               19131   Conestoga Recreation Center

 94   18-Jul-19 6:00 PM 8:00 PM        53   20   1400 Cottman Ave            19111   Rep. Jared Solomon Town Hall Meeting Voting System Demo
 95   18-Jul-19 3:00 PM 4:00 PM        35    5   6401 Martins Mill Rd        19111   Philadelphia Protestant Home
 96   18-Jul-19 5:00 PM 7:00 PM        29   12   2823 W Girard Ave           19130   PHL Vue Voting System Demo - 29th Ward
 97   18-Jul-19 6:00 PM 8:00 PM        49   21   5325 Old York Rd            19141   Rep. Kinsey Voting System Demo
 98   19-Jul-19 9:00 AM 12:00 PM        8   15   1400 JFK Blvd               19107   Jury Duty Demo
 99   19-Jul-19 12:30 PM 1:30 PM       33   14   1251 E Sedgley Ave          19134   Juniata Park Older Adult Center

100   19-Jul-19    5:00 PM   8:00 PM   24    8   3900 Lancaster Ave          19104   16th Police District Promise Zone Community Fun Day 2019
101   19-Jul-19   11:00 AM   1:00 PM    5   24   51 N 12th St                19107   Reading Terminal Market Voting System Demo
102   20-Jul-19   10:00 AM   2:00 PM   59   19   43 W Haines St              19144   14th Police District Community Day
103   20-Jul-19   10:00 AM   3:00 PM   43   14   13th St and Tioga St        19141   Community Day
104   22-Jul-19    1:00 PM   3:00 PM   58    3   2109 Red Lion Rd            19115   Oakwood Residence Assited Living
105   22-Jul-19    5:00 PM   7:15 PM   24    4   3509 Spring Garden St       19104   24th Ward Voting System Demo
106   22-Jul-19    1:00 PM   5:00 PM   22   11   6945 Germantown Ave         19119   Lovett Memorial Library
107   22-Jul-19    6:00 PM   7:30 PM   13   20   19th & Erie Ave             19140   Mastery Charter / Grover Cleveland School
108   22-Jul-19    9:00 AM   3:00 PM    8   15   1401 JFK Blvd               19107   Municipal Services Building Voting System Demo
109   23-Jul-19   11:00 AM   1:00 PM   40    5   2100 S 58th St              19143   Mary Field Apartments
110   23-Jul-19    1:00 PM   4:00 PM    7    5   173 W Allegheny Ave         19134   Somerset Villas


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       day         start       end      ward div          address          zip                               event

111   23-Jul-19    1:30 PM 3:00 PM        58 31 10400 Roosevelt Blvd      19116 St. John Neumann Center for Rehabilitation & Healthcare
112   24-Jul-19    5:00 PM 7:30 PM         8 21 1420 Locust St            19102 Academy House
113   24-Jul-19    9:00 AM 12:00 PM        8 15 1400 JFK Blvd             19107 Jury Duty Demo
                                                3817 Market St Comm Rm
114   24-Jul-19    1:00 PM    3:00 PM     24 6 2nd FL                     19104   Ralston/Mercy Douglass House
115   24-Jul-19   10:00 AM   11:30 AM     52 9 2101 Belmont Ave           19131   Simpson House
116   24-Jul-19    1:30 PM    3:00 PM     56 13 7800 Bustleton Ave        19152   Voting Education for 2019
117   25-Jul-19    1:00 PM    3:00 PM     34 8 5901 W Columbia Ave        19151   Tustin Recreation Center
118   25-Jul-19    2:00 PM    5:00 PM     52 14 5325 Overbrook Ave        19131   Wynnefield Library
119   26-Jul-19    9:00 AM   12:00 PM      8 15 1400 JFK Blvd             19107   Jury Duty Demo
120   26-Jul-19   11:00 AM    3:00 PM      8 10 1905 Locust St            19103   Philadelphia City Institute Library
121   26-Jul-19   11:00 AM    1:00 PM      5 24 51 N 12th St              19107   Reading Terminal Market Voting System Demo
122   26-Jul-19   11:00 AM    1:00 PM     29 7 1515 N 24th St             19121   29th Ward Voting System Demo
123   27-Jul-19   10:00 AM   12:00 PM      5 12 919 Walnut St             19107   Self Contained Public Awareness
124   27-Jul-19   10:00 AM    2:00 PM     21 22 6300 Ridge Ave            19128   Annual Hospitalized Veterans Tribute - Gorgas Park
125   27-Jul-19   12:00 PM    3:00 PM     65 17 4500 Rhawn St             19136   Councilmember Bobby Henon Back to School Event
126   27-Jul-19    2:00 PM    7:30 PM     13 16 1648 W Hunting Park Ave   19140   Triumph Baptist Church Voting System Demo
127   29-Jul-19    1:00 PM    5:00 PM     66 30 11099 Knights Rd          19154   Katharine Drexel Library
128   29-Jul-19    9:00 AM    3:00 PM      8 15 1401 JFK Blvd             19107   Municipal Services Building Voting System Demo
129   29-Jul-19   10:00 AM    3:00 PM     18 10 1601 E Palmer St          19125   Neumann Senior Housing
130   29-Jul-19   10:00 AM   11:00 AM     46 8 4700 Springfield Ave       19143   Star Harbor Senior Community Center
131   30-Jul-19   10:00 AM    1:00 PM     23 6 4744 Frankford Ave         19124   Councilmember Sanchez's Summer Pop-up Office
132   30-Jul-19   11:00 AM    3:00 PM      9 2 7310 Stenton Ave           19150   Conference Room
133   30-Jul-19    6:00 PM    7:30 PM     47 6 1718 W Cecil B Moore Ave   19121   Philly NAN Office
134   31-Jul-19    9:00 AM   12:00 PM      8 15 1400 JFK Blvd             19107   Jury Duty Demo
135   31-Jul-19   10:00 AM    4:00 PM     13 11 1539 W Courtland St       19141   Front Step Inc
136   31-Jul-19    4:00 PM    6:00 PM     42 25 5501 N 5th St             19120   Greater Olney Library
137   31-Jul-19    9:30 AM    2:00 PM     58 3 10100 Jamison Ave          19116   KleinLife
138   31-Jul-19    6:00 PM    8:00 PM     47 4 1628 W Master St           19121   National Temple Baptist Church
139   31-Jul-19    2:00 PM    4:00 PM     59 25 6300 Greene St            19144   Wesley Enhanced Living at Stapeley in Germantown
140   1-Aug-19     1:00 PM    5:00 PM     38 13 3501 Midvale Ave          19121   Falls of Schuylkill Library




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       day        start       end       ward div           address               zip                            event
                                                30 S 15th St Ground FL -
141   1-Aug-19    5:00 PM    6:30 PM       8 15 Former Parliamnet Coffee        19102 Pipeline
142   1-Aug-19    1:30 PM    2:30 PM      39 45 1711 S Broad St                 19148 SEAMAAC

143   1-Aug-19    6:00 PM     7:00 PM     16    2   2326 N 16th St              19132   Winchester Advisory Committee Board Community Meeting
144   2-Aug-19    9:00 AM    12:00 PM      8   15   1400 JFK Blvd               19107   Jury Duty Demo
145   2-Aug-19   11:00 AM     1:00 PM      5   24   51 N 12th St                19107   Reading Terminal Market Voting System Demo
146   2-Aug-19   11:00 AM     3:00 PM      7    7   199 E Erie Ave              19134   9th Annual Back to School Carnival and Resource Fair
147   3-Aug-19    8:00 AM    12:00 PM     14    4   665 N Broad St              19123   Laborers' District Council
148   3-Aug-19    8:00 AM     1:00 PM     37   12   N Broad St and Lehigh Ave   19132   Philly Free Streets 2019
149   3-Aug-19   10:00 AM     2:00 PM     13   16   1648 W Hunting Park Ave     19140   Triumph Baptist Church Voting System Demo
150   4-Aug-19   12:00 PM     4:00 PM     23   23   4355 Paul St                19124   Mizpah S D A Church
151   5-Aug-19   10:00 AM     1:00 PM     24    2   3320 Haverford Ave          19104   Charles Durham Library
152   5-Aug-19    7:00 PM     7:30 PM      3   17   5800 Cobbs Creek Pkwy       19143   Cobbs Creek Neighbors Community Meeting
153   5-Aug-19   10:00 AM     2:00 PM     32    2   1900 N 20th St              19121   District 5 Health Center
154   5-Aug-19    5:00 PM     8:30 PM     60    9   5100 Pine St                19143   National Night Out Kickoff 2019 - Malcolm X Park
155   5-Aug-19    9:00 AM     3:00 PM      8   15   1401 JFK Blvd               19107   Municipal Services Building Voting System Demo
156   5-Aug-19    6:00 PM     7:30 PM     11   18   3100 N 22nd St              19132   Panati Playground
157   5-Aug-19    3:00 PM     7:00 PM     25    5   2987 Almond St              19134   Richmond Library
158   6-Aug-19    6:00 PM     7:30 PM     28    5   32nd & York Sts             19132   32nd & York Sts.
159   6-Aug-19    6:00 PM     8:00 PM     63    3   500 Rhawn St                19111   Fox Chase National Night Out
160   6-Aug-19    5:30 PM     7:00 PM     13   11   1539 W Courtland St         19141   Front Step Inc.
161   6-Aug-19    1:45 PM   TBA           61    5   101 E Olney Ave             19120   Grace Adult Day Care
162   6-Aug-19    3:00 PM     7:00 PM     35   10   6098 Rising Sun Ave         19111   Lawncrest Library
163   6-Aug-19    6:30 PM     7:30 PM     34    3   6119 Race St                19139   National Night Out 2019 - 61st and Race Street
164   6-Aug-19    7:30 AM    10:00 AM     14    7   719 W Girard Ave            19123   Summer Camp
165   7-Aug-19    9:00 AM    12:00 PM      8   15   1400 JFK Blvd               19107   Jury Duty Demo
166   7-Aug-19    4:00 PM     6:00 PM     52    4   3701 Conshohocken Ave       19131   Duffield House

167   7-Aug-19    7:00 PM 8:30 PM          6 15 4015-17 Poplar St               19104 United Block Captains Association Voting System Demo
168   8-Aug-19    3:00 PM TBA             52 7 3939 Conshohocken Ave            19131 Veterans Eventq
                                                4416 Main St (Canal View
169   8-Aug-19    5:00 PM    8:00 PM      21 6 Park)                            19127 Stroll the Street


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        day       start   end    ward div           address                 zip                                 event
170    8-Aug-19 10:00 AM 2:00 PM   19 16 4th St & Lehigh Ave               19133   Senator Tartaglione Community Day Event
171    8-Aug-19 6:00 PM 8:00 PM    59 17 35 W Chelten Ave                  19144   Rep. Kinsey Voting System Demo
172    8-Aug-19 5:00 PM 6:30 PM    15 10 1737 Francis St                   19130   Francisville Pool Family Swim Time
173    8-Aug-19 9:30 AM 3:30 PM     2 1 916 S Swanson St                   19147   Olde Swedes Church Voting System Demo
174    8-Aug-19 11:00 AM 1:00 PM    5 24 51 N 12th St                      19107   Reading Terminal Market Voting System Demo
175    9-Aug-19 9:00 AM 12:00 PM    8 15 1400 JFK Blvd                     19107   Jury Duty Demo

176    9-Aug-19    5:00 PM 7:00 PM     5   17   321 Fairmount Ave          19123   Northern Liberties Recreation Center Family Swim Time
177    9-Aug-19    4:00 PM 6:00 PM    52   10   3900 W Ford Rd             19131   Park Plaza Condos
178    9-Aug-19    1:00 PM 3:00 PM    52   22   5300 Parkside Ave          19131   Parkside Evans Playground
179    9-Aug-19   11:00 AM 1:00 PM    50   28   2000 E Washington Ln       19138   Senior Chat & Chew
180   10-Aug-19   11:00 AM 5:00 PM    34    1   6001 Market St             19139   60th Street Summer Jam
181   10-Aug-19    1:00 PM 5:00 PM    29   14   1400 N 26th St             19121   Brewerytown Sharswood Unity Day
182   10-Aug-19   12:00 PM 3:00 PM    36    2   1900 Washington Ave        19146   Chew Playground
183   10-Aug-19   10:00 AM 11:30 AM   50   10   2800 W Cheltenham Ave      19150   50th Ward Public Voting System Demo
184   10-Aug-19   10:00 AM TBA        23   18   1900 Wakeling St           19124   Frankford Community Day
185   10-Aug-19    4:00 PM 6:00 PM    51    5   51st St & Chester Ave      19143   51st Ward Cookout
186   10-Aug-19    3:00 PM 5:00 PM    13   14   4301 Germantown Ave        19140   17th Annual Nicetown CDC Giveback Festival
187   10-Aug-19    9:00 AM 12:00 PM   52    1   1719 N 52nd St Suite G     19131   Parkside Association
188   12-Aug-19    3:00 PM 7:00 PM    39   25   2437 S Broad St            19148   Fumo Family Library
189   12-Aug-19    1:00 PM 4:30 PM     4    2   5543 Haverford Ave         19139   Haverford Library
190   12-Aug-19    9:00 AM 3:00 PM     8   15   1401 JFK Blvd              19107   Municipal Services Building Voting System Demo
191   12-Aug-19    1:00 PM 3:00 PM    17    4   6300 Old York Rd           19141   Phillip Murray House
192   13-Aug-19    2:00 PM 6:00 PM    12   15   68 W Chelten Ave           19144   Joseph E. Coleman Northwest Regional Library
                                                                                   Olde Kensington Neighborhood Association Voting System
193   13-Aug-19 6:30 PM 8:00 PM       18    9   1328 N 4th St              19122   Demo
194   14-Aug-19 2:00 PM 3:00 PM        7    5   173 W Allegheny Ave        19133   Casa Caribe
195   14-Aug-19 9:00 AM 12:00 PM       8   15   1400 JFK Blvd              19107   Jury Duty Demo
196   14-Aug-19 6:30 PM 8:00 PM       26   21   2433 S 15th St             19145   Broad Street West Civic Association Meeting
197   14-Aug-19 12:00 PM 4:00 PM      54   22   2228 Cottman Ave           19149   Northeast Regional Library
198   14-Aug-19 7:00 PM 9:00 PM       56   39   2350 Tremont St            19115   Residents Meeting
199   14-Aug-19 3:00 PM 4:00 PM       35    5   6401 Martins Mill Rd       19111   The Philadelphia Protestant Home
200   15-Aug-19 2:00 PM 5:00 PM        2   11   932 S 7th St               19147   Charles Santore Library


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        day         start    end    ward div           address              zip                                  event
201   15-Aug-19    5:00 PM 6:30 PM    15 10 1737 Francis St                19130   Francisville Pool Family Swim Time
202   15-Aug-19   10:00 AM 2:00 PM    35 10 6000 Rising Sun Ave            19111   Senator Tartaglione Community Day Event
203   15-Aug-19    5:00 PM 6:30 PM    23 4 1010 Arrott St                  19124   Family Swim
204   15-Aug-19    9:00 AM 5:00 PM     5 16 151 N 4th St                   19106   Old First Reformed Church Voting System Demo
205   16-Aug-19    9:00 AM 12:00 PM    8 15 1400 JFK Blvd                  19107   Jury Duty Demo
206   16-Aug-19   12:00 PM 4:00 PM    42 6 221 E Wyoming Ave               19120   Philadelphia First Responders Appreciation Day
207   16-Aug-19    6:00 PM 8:00 PM    36 31 17th & Fitzwater Sts           19146   Marian Anderson Recreation Center
208   16-Aug-19    2:00 PM 4:00 PM    22 19 6757 Chew Ave                  19119   Rep. Chris Rabb Senior Chat and Chew
209   16-Aug-19   11:00 AM 1:00 PM     5 24 51 N 12th St                   19107   Reading Terminal Market Voting System Demo
210   16-Aug-19   10:00 AM 1:00 PM    11 9 1531 W Tioga St                 19140   Tioga Presbyterian Apartments
211   17-Aug-19    4:00 PM 8:00 PM    62 6 1600 Dyre St                    19124   1st Annual Safe Initiation Block Festival
212   17-Aug-19    2:00 PM 6:00 PM    13 21 1723 W Erie Ave                19140   3700 N. Bouvier St. Festival
213   17-Aug-19    1:00 PM 2:30 PM    17 8 2101 W 65th Ave                 19138   Faith Fewllowship Baptist Church
                                             Sydenham St & Cecil B Moore
214   17-Aug-19    2:30 PM 5:00 PM    47 6 Ave                             19121   Heritage CDC Corp.
215   17-Aug-19   11:00 AM 3:00 PM    12 1 1100 E Chelten Ave              19138   Sen. Haywood's Back to School Festival
216   17-Aug-19   11:00 AM 3:00 PM    59 16 458 E Rittenhouse St           19144   Rittenhouse and Morton Community Recognition Day
217   17-Aug-19   11:00 AM 2:00 PM    58 14 1701 Bowler St                 19115   7th Police District Community Day
218   17-Aug-19   10:30 AM 12:30 PM   13 9 4600 N 16th St                  19141   Health Fair
219   17-Aug-19   11:00 AM 3:00 PM    34 8 5901 Columbia Ave               19151   Annual District Day
220   17-Aug-19   10:00 AM 4:00 PM    43 15 3509 Old York Rd               19140   Voice Community Day Block Party
221   19-Aug-19    1:00 PM 5:00 PM    40 49 2851 Island Ave                19153   Eastwick Library
222   19-Aug-19    4:00 PM 8:00 PM    22 11 6945 Germantown Ave            19119   Mount Airy Monday Market
223   19-Aug-19    9:00 AM 3:00 PM     8 15 1401 JFK Blvd                  19107   Municipal Services Building Voting System Demo
224   19-Aug-19    2:30 PM 3:30 PM    56 22 2101 Strahle St                19152   Samuel Tabos Apartments
225   19-Aug-19    6:45 PM 9:00 PM     8 16 1919 Chestnut St               19103   William Penn House (Community Room)
226   20-Aug-19   10:00 AM 12:00 PM   39 27 821 Dudley St                  19148   Asian Seniors Meeting with Councilman David Oh
                                                                                   University of Pennsylvania New Student Orientation Student
227   20-Aug-19    9:00 AM 5:00 PM     27 19 3417 Spruce St                19104   Services Expo
228   20-Aug-19    6:00 PM 8:20 PM     32 28 2500 W Norris St              19121   Ward Meeting
229   20-Aug-19    7:00 PM TBA         35 8 6200 Rising Sun Ave            19111   Community Meeting
230   20-Aug-19    4:30 PM 6:00 PM     60 4 5429 Chestnut St               19139   Democratic Training
231   20-Aug-19    2:00 PM 3:00 PM      7 17 200 E Somerset St             19134   Somerset Villas


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        day        start     end      ward div              address            zip                                 event
                                                                                      Community Health Fairs and Farmer's Market - South
232 20-Aug-19      3:00 PM 5:30 PM      36 29 1700 S Broad St                 19145   Philadelphia Library
233 21-Aug-19      9:00 AM 12:00 PM      8 15 1400 JFK Blvd                   19107   Jury Duty Demo
234 21-Aug-19      6:00 PM 8:00 PM      17 11 6101 Limekiln Pike              19141   Giving Of Self Partnership
                                                                                      University of Pennsylvania New Student Orientation Student
235   21-Aug-19    9:00 AM 5:00 PM      27   19   3417 Spruce St              19104   Services Expo
236   21-Aug-19   10:30 AM 12:30 PM      5   16   25 N 4th St                 19106   Residents Meeting
237   21-Aug-19   12:00 PM 2:00 PM      19   16   2600 N 5th St               19133   197th District Voting System Demo
238   22-Aug-19    6:00 PM 8:00 PM      44    1   1323 N 52nd St              19131   Bible Way Baptist Church
239   22-Aug-19    6:00 PM 7:30 PM       4   16   5801 W Girard Ave           19127   Summer Jazz Series - Carrol Park
240   22-Aug-19    6:00 PM 7:00 PM      60    3   5120 Chestnut St            19139   Janie Blackwell's Vendor Demo
241   22-Aug-19    2:00 PM 4:00 PM      52   12   2100 N 49th St              19131   Kearsley Rehabilitation & Nursing Center
242   22-Aug-19    1:00 PM 3:00 PM      23   21   4649 Paul St                19124   New Courtland
243   22-Aug-19   10:00 AM 2:00 PM      62   17   5773-45 Frankford Ave       19135   Senator Tartaglione Community Day Event
244   22-Aug-19    7:00 PM 9:00 PM      65   16   4637 Decatur St             19136   Wm. D. Oxley American Legion
245   23-Aug-19    9:00 AM 12:00 PM      8   15   1400 JFK Blvd               19107   Jury Duty Demo
246   23-Aug-19   11:00 AM 2:00 PM      37    6   1010 W Lehigh Ave           19133   Oak Street Health Patient Appreciation Day
247   23-Aug-19   11:00 AM 1:00 PM       5   24   51 N 12th St                19107   Reading Terminal Market Voting System Demo
                                                                                      University of the Arts' Student Activities and Community
248 23-Aug-19 11:30 AM      2:00 PM      8 14 320 S Broad St                  19102   Engagement Fair
249 24-Aug-19 1:00 PM       6:00 PM     59 2 Haines & Ardleigh Sts            19144   Awbury Park
250 24-Aug-19 10:00 AM      2:00 PM     40 12 6208 Grays Ave                  19142   Grace Christian Fellowship Church
                                              Old York Rd & Hunting Park
251   24-Aug-19   10:30 AM 12:00 PM     43 1 Ave                              19140   Weekly Saturday Farmers Market
252   24-Aug-19   11:00 AM 6:00 PM       3 19 5800 Block of Catherine St      19143   Block Party and Family Fun Day.
253   24-Aug-19   11:00 AM TBA          52 15 2276 Georges Ln                 19131   Bookbag GIve Away Event
254   26-Aug-19   12:00 PM 4:00 PM      17 11 6017 Ogontz Ave                 19141   David Cohen Ogontz Library
255   26-Aug-19    9:00 AM 3:00 PM       8 15 1401 JFK Blvd                   19107   Municipal Services Building Voting System Demo
256   26-Aug-19   12:00 PM 2:00 PM      36 36 1300 S Broad St                 19146   P.E.P. Headquarters
257   26-Aug-19   10:00 AM 11:30 AM     30 9 1941 Christian St                19146   St. Charles Senior Center
258   26-Aug-19    6:30 PM 8:00 PM      36 25 2744 Dickinson St               19146   Grays Ferry Community Council
259   27-Aug-19    6:00 PM 7:30 PM      48 6 1920 S 20th St                   19145   Dixon House
260   27-Aug-19    5:30 PM 7:30 PM      28 5 3133 Ridge Ave                   19121   Voting Rights Workshop


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        day       start    end   ward div           address                 zip                               event
261   27-Aug-19 1:00 PM TBA        61 21 6926 Old York Rd                  19136   Penn Asian Senior Services
262   27-Aug-19 8:30 AM 3:30 PM     8 30 440 N Broad St                    19130   Voter Education and Registration Drive
263   27-Aug-19 9:00 AM 10:00 AM   37 7 2601 N Broad St                    19132   Station House Voting System Demo
264   28-Aug-19 5:00 PM 8:00 PM    61 22 6901 Old York Rd                  19126   Bromley House
265   28-Aug-19 9:00 AM 12:00 PM    8 15 1400 JFK Blvd                     19107   Jury Duty Demo
266   28-Aug-19 5:00 PM 6:00 PM    14 7 801 W Girard Ave                   19122   Ife House
267   28-Aug-19 2:00 PM 4:00 PM    65 12 7979 State Rd                     19136   Riverview Homes
268   28-Aug-19 11:00 AM 1:00 PM   57 12 3075 Holme Ave                    19136   Thunderbird Lanes

269   28-Aug-19 1:00 PM     3:00 PM   64   15   8401 Roosevelt Blvd        19152   August Residence Meeting Wesley Enhanced (Pennypack)
270   28-Aug-19 10:00 AM    2:00 PM    5   27   259 N Lawrence St          19106   Women Veterans' Center
271   29-Aug-19 2:30 PM     5:30 PM   23   15   2000 Wakeling St           19124   Rep. Dawkins' Back to School Event
272   29-Aug-19 1:00 PM     2:30 PM   57   27   9350 Ashton Rd             19114   JEVS Human Services
                                                3890 N 10th St (10th and
273   29-Aug-19 6:30 PM 8:30 PM       43   25   Pike)                      19140   Lenfest Center
274   29-Aug-19 10:00 AM 11:30 AM     26   21   2433 S 15th St             19145   Marconi Older Adults Center
275   29-Aug-19 6:00 PM 7:30 PM       21    4   4300 Silverwood St         19128   Summer Jazz Series - Pretzel Park
276   29-Aug-19 12:00 PM 3:00 PM      44    2   5353 Master St             19131   Simpson Fletcher Conestoga House
277   30-Aug-19 9:00 AM 12:00 PM       8   15   1400 JFK Blvd              19107   Jury Duty Demo
278   30-Aug-19 3:00 PM 4:30 PM       59   18   6101 Morris St             19144   Four Freedoms House

279   30-Aug-19   11:00 AM 2:00 PM    19    9   2830 N American St         19133   Pan American Academy Charter School Back to School Party
280   30-Aug-19    6:00 PM 8:00 PM    17   29   1950 W Rockland St         19141   17th Ward Demo
281   30-Aug-19   11:00 AM 1:00 PM     5   24   51 N 12th St               19107   Reading Terminal Market Voting System Demo
282   30-Aug-19    2:00 PM 4:00 PM     6    2   4401 Haverford Ave         19104   St. Ignatius Nursing Home
283   31-Aug-19   10:00 AM 3:00 PM    40    4   5400 Lindbergh Blvd        19143   First Annual Hooked on Health Community Health Fair
284   31-Aug-19   10:00 AM 12:00 PM   36   21   2421 Dickinson St          19146   Church of the Redeemer
285    3-Sep-19   10:00 AM 3:00 PM     5   12   714 Market St              19106   Parole Department Voting System Demo
286    4-Sep-19    6:30 PM 8:30 PM    49   20   1300 W Godfrey Ave         19141   CCP Godfrey Ave Room 216
287    4-Sep-19    9:00 AM 12:00 PM    8   15   1400 JFK Blvd              19107   Jury Duty Demo
288    4-Sep-19    2:00 PM TBA        64   15   8301 Roosevelt Blvd        19152   Deer Meadows Retirement Community
289    4-Sep-19    6:00 PM 8:00 PM     1    4   1025 Mifflin St            19148   Councilman Squilla's Voting System Demo
290    4-Sep-19    6:00 PM 6:45 PM    43    2   4417 N 6th St              19140   Esperanza Health Center


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       day       start     end   ward div           address                  zip                                event
291   4-Sep-19 10:00 AM 12:00 PM   47 7 1728 W Montgomery Ave               19121   Faith Taberncle Baptist Church
292   4-Sep-19 7:00 PM 8:00 PM      6 15 4015-17 Poplar St                  19104   United Block Captains Monthly Meeting
293   4-Sep-19 11:00 AM 1:00 PM    56 14 7328 Castor Ave                    19152   Lee's Hoagie House Demo
294   4-Sep-19 6:00 PM 7:00 PM      5 30 500 N 2nd St                       19123   Membership Meeting
295   5-Sep-19 7:00 PM 9:00 PM     34 1 6011 Market St                      19139   Home Healthcare Plus
296   5-Sep-19 11:00 AM TBA        21 17 403 Rector St                      19128   Journey's Way
297   5-Sep-19 6:30 PM 8:30 PM     21 28 6301 Ridge Ave                     19128   Central Roxborough Civic Monthly Meeting
298   5-Sep-19 1:00 PM TBA         61 21 6926 Old York Rd                   19126   Penn Asian Senior Services: Ever Green Center
299   5-Sep-19 5:30 PM 7:30 PM     39 1 2400 S 9th St                       19148   Rep. Fiedler's Community Meeting

300   5-Sep-19    6:00 PM 6:30 PM    52    9   3910-3918 Conshohocken Ave   19131   Summer Jazz Series - Woodside Park
301   6-Sep-19    9:00 AM 12:00 PM    8   15   1400 JFK Blvd                19107   Jury Duty Demo
302   6-Sep-19   11:00 AM 1:00 PM    59   15   6153 Germantown Ave          19144   New Bethel AME Church Voting System Demo
303   6-Sep-19   10:00 AM 12:00 PM    5   24   213 N 10th St                19107   On Lok Senior Center
304   6-Sep-19    5:00 PM 7:00 PM     5    3   699 Ranstead St              19106   Philly Cam
305   6-Sep-19   10:00 AM 2:00 PM     7   11   3503 B St                    19134   The Office of Angel Cruz ( State Rep.)
306   6-Sep-19   11:00 AM 1:00 PM    50   10   1500 Wadsworth Ave           19150   Senior Chat & Chew - Wadsworth Library
307   7-Sep-19    4:30 PM 6:00 PM    46   18   4614 Cedar Ave               19143   Cedar Point Park Block Party
308   7-Sep-19   12:00 PM 2:00 PM     5   21   219 Spring Garden St         19123   Democratic City Committee
309   7-Sep-19   10:00 AM 3:00 PM     8   15   1400 JFK Blvd                19107   Campus Philly's CollegeFest 2019
310   7-Sep-19   10:00 AM 2:00 PM    38   15   4100 Ridge Ave               19127   East Falls Farmers Market
311   7-Sep-19   12:00 PM 3:00 PM    47    2   1510 W Stiles St             19121   1510 W Stiles Street Block Party

312   7-Sep-19 10:00 AM    2:00 PM   65 17 4500 Rhawn St                    19136 Holmesburg Community Day - Holmesburg Recreation Center
313   7-Sep-19 12:00 PM    6:00 PM   38 9 2140 N 33rd St                    19121 13th Annual Strawberry Mansion Day

                                                                                  Councilman Taubenberger's and CareGivers America: Senior
314   7-Sep-19 10:00 AM    1:00 PM   35 5 6401 Martins Mill Rd              19111 Health & Resource Expo - Philadelphia Protestant Home
315   7-Sep-19 1:00 PM     3:00 PM    5 3 669 Ranstead St                   19106 Philly Cam
316   7-Sep-19 12:00 PM    4:00 PM   42 10 4800 Whitaker Ave                19124 42nd Ward Annual Cookout
317   7-Sep-19 12:30 PM    3:30 PM   36 12 20th & Tasker Sts                19145 Ralph Brooks Park
                                                                                  State Representative Martina White's 5th Annual Kids Fest -
318   7-Sep-19 10:00 AM    1:00 PM   58 24 1400 Southampton Rd              19116 Somerton Youth Organization


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      day           start    end    ward div            address                zip                                event
319 7-Sep-19       1:00 PM 4:00 PM    27 20 3916 Locust Walk                  19104   St. Mary's Episcopal Church at Penn
320 8-Sep-19       2:00 PM 4:30 PM    52 10 2000 Belmont Mansion Dr           19131   Congressman Dwight Evans' Congressional Cookout
321 8-Sep-19      12:00 PM 2:00 PM     4 12 5732 Race St                      19139   Mount Caramel Baptist Church
322 9-Sep-19       1:30 PM 3:30 PM    58 35 12003 Bustleton Ave               19116   Goldstein Apartments - Community Room
323 9-Sep-19      12:30 PM 4:30 PM     5 12 18 S 7th St                       19106   Independence Library
324 9-Sep-19       9:00 AM 3:00 PM     8 15 1401 JFK Blvd                     19107   Municipal Services Building Voting System Demo
325 9-Sep-19       6:30 PM 8:00 PM    18 18 1301 N 2nd St                     19123   South Kensington Community Partners
326 9-Sep-19      10:00 AM 2:00 PM     3 4 6250 Walnut St                     19139   3rd Ward Public Voting System Demo
327 10-Sep-19     10:00 AM 12:00 PM    8 7 22 S 22nd St 2nd FL                19103   Executive Board Meeting
328 10-Sep-19      2:00 PM 6:00 PM    47 11 1710 N Croskey St 1st FL          19121   Bently Hall

329   10-Sep-19 7:15 PM     8:30 PM    65 17 4500 Rhawn St                    19136   Holmesburg Civic Assocation - Holmesburg Recreation Center
330   10-Sep-19 11:00 AM    1:00 PM    47 13 1900 W Master St                 19121   Moore Manor / 1st Floor
331   10-Sep-19 5:00 PM     7:00 PM     8 29 2200 Arch St                     19103   NA
332   10-Sep-19 7:00 PM     9:00 PM    65 7 9607 James St                     19114   General Membership Meeting

333   10-Sep-19    7:00 PM 8:30 PM     66    7   10980 Norcom Rd              19154   Normandy Civic Association - SPIN Community & Fitness
334   10-Sep-19    7:00 PM 8:00 PM      5   12   233 S 10th St                19107   Washington West Civic Association Public Meeting
335   10-Sep-19    6:00 PM 7:30 PM     29    8   23rd and Master St           19121   29th Ward Meeting
336   10-Sep-19   10:00 AM 2:00 PM      3    4   6250 Walnut St               19139   3rd Ward Public Voting System Demo
337   10-Sep-19   11:00 AM 1:00 PM     50   28   7210 Ogontz Ave              19138   West Oak Lane Senior Center Demo
338   11-Sep-19    5:30 PM 8:00 PM      8    7   22 S 22nd St 2nd FL          19103   Delegate Meeting
339   11-Sep-19    7:45 PM 8:30 PM     63    1   7976 Oxford Ave              19111   Fox Chase Homeowners Monthly Community Meeting
340   11-Sep-19    9:00 AM 12:00 PM     8   15   1400 JFK Blvd                19107   Jury Duty Demo
341   11-Sep-19   12:00 PM 4:00 PM     37   18   601 W Lehigh Ave             19133   Lillian Marrero Library
342   11-Sep-19   11:00 AM 6:00 PM      8   18   1900 JFK Blvd                19103   Residents Meeting
343   11-Sep-19   12:30 PM 2:00 PM     47   13   2013 Ridge Ave               19123   PHA Monthly Meeting
344   11-Sep-19    3:00 PM 4:00 PM     56   29   8900 Roosevelt Blvd          19115   Robert Saligman Apts
345   11-Sep-19   10:00 AM 12:00 PM    63   11   900 PineValley Blvd          19111   Villages at Pine Valley
346   11-Sep-19    6:00 PM 8:00 PM     50    3   8107 Thouron Ave             19150   Woodcrest United Church
347   12-Sep-19    1:00 PM 3:00 PM     17    9   6100 N 21st St               19138   17th Ward Voting Sysrem Demo
348   12-Sep-19    6:30 PM 8:00 PM      8   29   1901 JFK Blvd 30th FL        19104   Kennedy House
349   12-Sep-19   10:00 AM 11:30 AM     3    2   6232 Market St               19139   Oak Street Health (Cobbs Creek)


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        day         start      end    ward div           address               zip                                 event
350   12-Sep-19   12:00 PM    3:00 PM   13 18 1717 W Hunting Park Ave         19140   Opportunity Tower
351   12-Sep-19    6:00 PM    7:30 PM   34 29 7630 Woodbine Ave               19151   Representative Cephas Voting System Demo
352   12-Sep-19   12:30 PM    1:00 PM    8 26 642 N Broad St                  19130   RCA Meeting
353   12-Sep-19    5:30 PM    7:30 PM   24 5 301 N 36th St                    19104   Back to School Night
354   12-Sep-19    7:00 PM    8:30 PM   66 7 10980 Norcom Rd                  19154   Walton Park Civic - SPIN Community & Fitness
355   12-Sep-19    6:00 PM    8:00 PM   40 5 2050 S 58th St                   19143   Witherspoon Sr. Apartments
356   12-Sep-19    6:30 PM    8:30 PM   30 5 1720 Christian St                19146   YMCA
357   13-Sep-19    2:30 PM    3:30 PM    6 2 4400 Fairmount Ave               19104   Angela Court Apartments
358   13-Sep-19   12:30 PM    1:45 PM   65 4 5100 Convent Ln                  19114   Bakers Bay Community Center
359   13-Sep-19    9:00 AM   12:00 PM    8 15 1400 JFK Blvd                   19107   Jury Duty Demo
360   13-Sep-19   10:00 AM   11:30 AM   65 20 9355 State Rd                   19114   Delaire Landing Rec. Center
361   13-Sep-19   11:00 AM    2:00 PM   63 3 501 Rhawn St                     19111   Fox Chase Library
362   13-Sep-19    9:30 AM    4:00 PM   12 14 4701 Germantown Ave             19144   Philly Office Retail
363   13-Sep-19   11:00 AM    2:00 PM   40 5 2050 S 58th St                   19143   Healthy fron Head to Toe Senior Association Fair
364   13-Sep-19   10:30 AM   11:30 PM   35 15 5450 Roosevelt Blvd             19124   St. Martin of Tours Seniors Senior Group
365   14-Sep-19   11:00 AM    5:00 PM    5 24 10th and Cherry St              19107   Mid-Autumn Festival
366   14-Sep-19   11:00 AM   12:30 PM   43 15 3600 N 11th St                  19140   11th &Venango Play Lot
367   14-Sep-19   12:30 PM    2:30 PM   52 10 2000 Belmont Mansion Dr         19131   Belmont Mansion

368 14-Sep-19 10:00 AM        1:00 PM   20   3 12th and Cecil B Moore Ave     19122 Bright Hope Baptist Church Information Fair
369 14-Sep-19 1:00 PM         4:00 PM   27   7 43rd & Kingsessing Ave         19143 Woodland Ave Reunion - Clark Park

370   14-Sep-19 10:00 AM      2:00 PM    7 5    3200 N Mascher St             19140   3rd Annual Community Celebration at Collazo Playground
371   14-Sep-19 1:00 PM       3:00 PM   13 2    4700 Wayne Ave                19144   13 Ward Committee Meeting
372   14-Sep-19 1:00 PM       3:00 PM   64 6    3400 Hartel Ave               19136   3400 Hartel Ave Block Party
373   14-Sep-19 10:00 AM      2:00 PM   43 1    1101 W Hunting Park Ave       19140   Hunting Park United
374   14-Sep-19 1:00 AM       6:00 PM   59 14   180 E Tulpehocken St          19144   Men Who Care of Germantown Outreach Event

375   14-Sep-19 11:00 AM      1:00 PM   52 15 2251 N 54th St (Ground Level)   19131   Homecoming Community Day - Pinn Memorial Baptist Church
376   14-Sep-19 10:00 AM      1:00 PM   66 19 3745 Clarendon Ave              19114   Settlement Music School Open House
377   15-Sep-19 2:30 PM       4:00 PM   60 3 125 S 52nd St                    19139   52nd & Samson St.
378   15-Sep-19 4:00 PM       8:00 PM    8 19 2100 Block of Spring St         19103   Logan Square Neighbors Association Block Party
379   15-Sep-19 9:00 AM       2:30 PM   34 9 6122 Haverford Ave               19151   Calvary Baptist Church Voting System Demo


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        day       start     end  ward div           address                 zip                                event
380   15-Sep-19 12:00 PM 5:00 PM   41 23 7309 Frankford Ave                19136   Councilman Bobby Henon's Mid-Autumn Festival
381   15-Sep-19 8:00 AM 2:00 PM     5 15 1039 N Lawrence St                19123   St. John Neumann Center Voting System Demo
382   15-Sep-19 3:00 PM 6:00 PM    36 4 2300 Wharton St                    19146   36th Ward Cookout
383   16-Sep-19 6:00 PM 7:00 PM    34 6 6059 Haverford Ave                 19151   Captn's Town Hall Meeting
384   16-Sep-19 11:45 AM TBA       58 3 10100 Jamison Ave                  19116   Lunch and Learn
385   16-Sep-19 4:00 PM 8:00 PM    22 11 6945 Germantown Ave               19119   Mount Airy Monday Market
386   16-Sep-19 7:45 PM 8:15 PM    54 6 1601 Hellerman St                  19149   Take Back Your Neighborhood - Max Myers Rec Center
387   16-Sep-19 9:00 AM 3:00 PM     8 15 1401 JFK Blvd                     19107   Municipal Services Building Voting System Demo
                                                                                   Bella Vista Neighbors Association - Palumbo Recreation
388   16-Sep-19    7:00 PM TBA         2   23   725 S 10th St              19147   Center
389   16-Sep-19    7:00 PM 9:00 PM    62   19   5560 Harbison Ave          19124   St. Bartholomew Catholic Church
390   16-Sep-19    4:30 PM 8:00 PM    61    1   5520 N 5th St              19120   Universal Hair Gallery
391   16-Sep-19   10:00 AM 2:00 PM     5   27   213 N 4th St               19106   Giving Back Veterrans Workshop
392   16-Sep-19    6:45 PM 9:00 PM     8   16   1919 Chestnut St           19103   William Penn House
393   17-Sep-19   11:00 AM 5:00 AM    20    7   2101 N Broad St            19122   Anderson Hall
394   17-Sep-19    2:00 PM 6:00 PM    14    9   953 N 10th St              19123   Childs Memorial Baptist Church
395   17-Sep-19   10:00 AM 1:00 PM    14    5   1100 Fairmount Ave         19123   Voter Registration Sign-up
396   17-Sep-19    8:30 AM 2:30 PM     5   16   525 Arch St                19106   Constitution Day - National Constitution Center
397   17-Sep-19   10:00 AM 2:00 PM    13    6   4340 Germantown Ave        19140   Nice Town Court 1 Apartments
398   17-Sep-19   10:30 AM 12:30 PM   52    8   4001 Conshohocken Ave      19131   Park Tower Apartments
399   17-Sep-19    1:30 PM 3:00 PM    47    6   1718 W Cecil B Moore Ave   19121   Philly NAN Voting System Demo
400   17-Sep-19    6:00 PM 8:00 PM    16   16   2301 Edgley St             19121   Raymond Rose Community Center
                                                                                   Community Health Fairs and Farmer's Market - South
401   17-Sep-19 3:00 PM 5:30 PM       36   29   1700 S Broad St            19145   Philadelphia Library
402   17-Sep-19 1:00 PM 5:00 PM        3    4   6212 Walnut St             19139   3rd Ward Voting System Demo
403   18-Sep-19 2:00 PM 5:00 AM       53    4   6304 Castor Ave            19149   Bushrod Library
404   18-Sep-19 9:00 AM 12:00 PM       8   15   1400 JFK Blvd              19107   Jury Duty Demo
405   18-Sep-19 1:00 PM 3:00 PM       56   13   7800 Bustleton Ave         19152   Glendale Uptown Home
406   18-Sep-19 6:30 PM 8:30 PM       63    4   1304 Rhawn St              19111   community Meeting
407   18-Sep-19 7:00 PM 8:00 PM       12   15   20 W Armat St              19144   Greene Street Friends School
408   18-Sep-19 5:00 PM 7:00 PM       37    6   2601 N 11th St             19133   Hope Partnership in Education
409   18-Sep-19 12:00 PM 2:00 PM      27   19   119 S 31st St              19104   Ron's Cafe
410   18-Sep-19 5:00 PM 6:30 PM        9    6   8301 Germantown Ave        19118   Back to School Night


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        day         start       end    ward div           address           zip                                  event
411   18-Sep-19    8:00 PM    10:00 PM   33 4 1391 E Cayuga St             19124   62nd Ward Meeting
412   18-Sep-19    6:30 PM     8:00 PM    2 23 725 S 10th St               19147   2nd Ward Voting System Demo
413   18-Sep-19    7:00 PM     8:30 PM   27 7 600 S 43rd St                19104   Rosenberger Hall
414   18-Sep-19    6:00 PM     8:00 PM   21 38 7100 Henry Ave              19128   Back to School Night
415   18-Sep-19   10:00 AM    12:00 PM    4 13 230 N 57th St               19139   St. Matthews Manor
416   18-Sep-19   11:00 AM     6:30 PM   32 19 2829 W Diamond St           19121   Strawberry Mansion N A C
417   18-Sep-19    7:15 PM     8:15 PM    0 0 4741 Mayfair St              19135   Monthly meeting
418   18-Sep-19   11:00 AM     1:00 PM   37 9 2862 Germantown Ave          19133   Warnock Village Voting System Demo
419   18-Sep-19    6:00 PM     8:00 PM    5 9 1315 Spruce St               19107   Liberty City LGBT Club Voting System Demo
420   19-Sep-19    6:30 PM     7:30 PM    5 21 219 Spring Garden St        19123   Philly Young Dems Meeting
421   19-Sep-19    6:00 PM     7:30 PM   38 15 4208-4208 Ridge Ave         19129   Summer Jazz Series - InnYard Park
422   19-Sep-19    1:30 PM     3:00 PM   51 5 1201 S 51st St               19143   Kingsessing Library
423   19-Sep-19    8:30 AM     9:00 AM   59 1 6100 Stenton Ave             19138   Voter Registration
424   19-Sep-19    4:00 PM     5:00 PM   40 11 6901 Woodland Ave           19142   Outley House
425   19-Sep-19   10:00 AM     1:00 PM   31 18 2328 E Lehigh Ave           19125   Senator Tartaglione Senior Expo
426   19-Sep-19   12:00 PM     6:00 PM   30 1 1525 Fitzwater St            19146   Scottish Rite House
427   19-Sep-19    5:00 PM     8:00 PM    3 19 5845 Catharine St           19143   3rd Ward Voting System Demo
428   19-Sep-19   11:00 AM   TBA         63 3 525 Rhawn St                 19111   St Cecilias Senior Group - St. Cecilia's School
429   19-Sep-19    6:30 PM   TBA         38 10 3217 W Clearfield St        19132   38th Ward Meeting
430   19-Sep-19    6:00 PM     8:00 PM   17 4 6344 N Broad St              19126   17th Ward Voting System Demo
431   19-Sep-19    6:00 PM     7:30 PM   34 8 5901 W Columbia Ave          19151   Representative Cephas Voting System Demo
432   19-Sep-19   11:00 AM     2:00 PM   14 1 1310 Wallace St              19123   Health Fair
433   20-Sep-19    6:00 PM     7:30 PM   43 17 542 W Erie Ave              19140   542 W. Erie Ave
434   20-Sep-19    9:00 AM    12:00 PM    8 15 1400 JFK Blvd               19107   Jury Duty Demo
435   20-Sep-19    1:30 PM   TBA         22 6 127 R W Gorgas Ln            19119   Germantown Apts & Cottages
436   20-Sep-19   12:00 PM     7:00 PM    5 24 1101 Arch St                19107   2019 Philly High School Fair
437   20-Sep-19    4:00 PM     7:00 PM   52 10 3900 Ford Rd                19131   Park Plaza Condos
                                                                                   Councilman Taubenberger's and CareGivers America: Senior
438   20-Sep-19 10:00 AM 1:00 PM         21 41 7201 Ridge Ave              19128   Health & Resource Expo - Roxborough YMCA
439   21-Sep-19 11:00 AM 7:00 PM         48 14 1437 W Passyunk             19145   1437 W. Passyunk Ave.
440   21-Sep-19 12:00 PM 2:00 PM         28 5 32nd & York Sts              19132   SMFBC Health and Awareness/WellnessDay
441   21-Sep-19 1:00 PM 3:00 PM          14 3 1318 W Girard Ave            19123   Congressman Boyle Voter Education Event
442   21-Sep-19 9:30 AM 11:30 AM         61 5 5675 N Front St Ste 180      19120   Congressman Boyle Voter Education Event


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        day     start    end    ward div           address                     zip                                 event
443   21-Sep-19
              10:00 AM 2:00 PM    43 22 1333 W Erie Ave                       19140   Community Outreach
444   21-Sep-191:00 PM 3:00 PM    38 13 3501 Midvale Ave                      19129   Falls of Schuylkill Library
445   21-Sep-191:00 PM 3:00 PM    13 2 4700 Wayne Ave                         19144   Happy Hollow Playground
446   21-Sep-19
              11:00 AM 1:00 PM    52 23 5376 W Berks St                       19131   Senator Hughes' Community Picnic
447   21-Sep-19
              12:30 PM 2:00 PM    37 20 2909 N 08th St                        19133   Women's Wellness Saturday
448   21-Sep-19
              11:00 PM 1:00 PM     0 0 2401 W Cheltenham Ave                  19150   Oak Street Health
449   21-Sep-19
              10:00 AM 3:00 PM    49 9 5248 N 5th St                          19120   Oasis City Church
450   21-Sep-19
              10:00 AM 2:00 PM     5 24 1101 Arch St                          19107   2019 Philly High School Fair
451   21-Sep-19
              11:00 AM 1:00 PM    52 15 2251 N 54th St                        19131   Pinn Memorial Church Voting System Demo
452   21-Sep-19
              10:00 AM 1:00 PM     3 19 5845 Catharine St                     19143   3rd Ward Voting System Demo
453   21-Sep-199:00 AM 11:00 AM   35 8 6200 Rising Sun Ave                    19111   Senior Fair
454   22-Sep-19
              11:30 AM 1:30 PM     3 10 6150 Cedar Ave                        19143   Voter Education
455   22-Sep-19
              12:00 PM 3:00 PM    60 5 5240 Chestnut St                       19139   Community Service
456   22-Sep-19
              12:30 PM 2:30 PM     3 9 6250 Cedar Ave                         19143   3rd Ward Voting System Demo
457   22-Sep-191:00 PM 3:00 PM     6 3 428 N 41st St                          19104   Mt. Pisgah AME Church
458   22-Sep-191:00 PM 5:00 PM    61 23 6816 N 10th St                        19126   61st Ward Annual Cookout
                                         2401 Pennsylvania Ave (Social
459 22-Sep-19 6:00 PM 6:30 PM     15 6 Room #B)                               19130 Voting System Demo
460 23-Sep-19 6:00 PM 6:30 PM     13 19 2201 Hunting Park Ave                 19140 39th PoliceDistrict
461 23-Sep-19 5:00 PM 7:30 PM      3 17 5801 Baltimore Ave                    19143 3rd Ward Voting System Demo

462   23-Sep-19   12:00 PM     2:00 PM    8   15   City Hall Room 330         19107   Councilwoman Sanchez's Puerto Rican Flag Raising Ceremony
463   23-Sep-19   12:00 PM     4:00 PM    8   25   1651 Ben Franklin Pkwy     19102   Friends Select
464   23-Sep-19    7:00 PM   TBA         58   42   9945 President St          19115   Hayes Memorial Playground
465   23-Sep-19    9:30 AM    11:30 AM   47    9   2100 W Cecil B Moore Ave   19121   Open House
466   23-Sep-19    9:00 AM     3:00 PM    8   15   1401 JFK Blvd              19107   Municipal Services Building Voting System Demo
467   23-Sep-19   11:00 PM     1:30 PM   17    3   6401 Ogontz Ave            19126   Mt Airy COGIC
468   23-Sep-19    9:00 AM    12:30 PM   52    7   3955 Conshohocken Ave      19131   Sharon Baptist Church Voting System Demo
469   24-Sep-19    6:30 PM     8:00 PM   30   12   2309 Carpenter St          19146   Birchwood @ Grays Ferry
470   24-Sep-19    9:30 AM     5:00 PM    8   30   1700 Spring Garden St      19130   Community College of Philadelphia
471   24-Sep-19    9:00 AM    10:30 AM   16   18   2150 W Lehigh Ave          19132   NVRD 2019
472   24-Sep-19    6:30 PM     7:30 PM   56   35   1913 Welsh Rd              19151   56th Republican Ward Meeting
473   24-Sep-19   10:00 AM    12:00 PM   52   12   2600 Belmont Ave           19131   Inglis House - Founders Hall


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      day        start     end    ward div        address                zip                             event
474 24-Sep-19   6:00 PM   8:00 PM   64 4 5920 Morton St                 19144 59th Ward Voting System Demo
                                                                              CAB Voter Registration event for students and community
475   24-Sep-19 10:00 AM 11:00 AM   59    2   6200 Crittenden St        19138 members.
476   24-Sep-19 12:00 PM 2:00 PM    52   22   1717 N 54th St            19131 Presby Life
477   24-Sep-19 12:30 PM TBA        27   11   3615 Chestnut St          19104 Ralston Center
478   24-Sep-19 6:00 PM 8:00 PM      3   20   1220 S 58th St            19143 Seventh Day Adventist Church
479   24-Sep-19 5:30 PM 7:30 PM     36   30   3301 Tasker St            19145 Meeting

480 25-Sep-19   6:30 PM   8:00 PM   37 10 2901 N 12th St                19133 North Philadelphia League of Voters Voting System Demo
481 25-Sep-19   6:30 PM   8:30 PM   43 25 10th and Pike Sts             19140 43rd Ward Voting System Demo
                                                                              Enter through double glass doors on JFK boulevard, off of the
482 25-Sep-19   3:00 PM   7:00 PM    8 15 1724 Arch St                  19103 Comcast plaza.

483 25-Sep-19   7:00 PM TBA         21 45 600 E Cathedral Rd            19128 21st Ward Neighbors Meeting and Voting System Demo
484 25-Sep-19   9:00 AM 12:00 PM     8 15 1400 JFK Blvd                 19107 Jury Duty Demo
485 25-Sep-19   8:30 AM 10:30 AM    17 7 6201 N 21st St                 19138 Voter Registration

486   25-Sep-19 1:30 PM 3:00 PM     57 3 2990 Holme Ave                 19136   Immaculate Mary Center for Rehabilitation & Healthcare
487   25-Sep-19 2:00 PM 3:00 PM      8 7 22 S 22nd St                   19103   PCDC Voter Registration and Demo
488   25-Sep-19 6:15 PM 8:00 PM     64 12 2990 St Vincent St            19149   Mayfair Community Center / Gym
489   25-Sep-19 1:15 PM 2:30 PM     60 1 4508 Chestnut St               19139   Mercy Life West Philadelphia
490   25-Sep-19 6:30 PM 7:30 PM     39 7 200 Snyder Ave                 19148   Whitman Council, INC Meeting
491   25-Sep-19 7:00 PM TBA         57 3 3031 Stamford Rd               19136   Holmesburg Civic Association Monthly Meeting
492   25-Sep-19 6:00 PM 8:00 PM     34 8 5901 W Columbia Ave            19151   Tustin Recreation Center
493   25-Sep-19 11:00 AM 1:00 PM    50 28 7210 Ogontz Ave               19138   West Oak Lane Senior Center Demo
494   25-Sep-19 6:30 PM 7:30 PM     22 22 815 E Washington Ln           19138   Community Meeting

495   26-Sep-19 6:30 PM 8:00 PM     37   10   2901 N 12th St            19133   12th and Cambria Advisory Council Community Meeting
496   26-Sep-19 6:00 PM 8:00 PM     17   16   2100 Chew Ave             19138   17th Ward Voting Demo
497   26-Sep-19 6:00 PM 8:00 PM     50    6   7701 Mansfield Ave        19150   Town Hall and Voting Demo
498   26-Sep-19 7:00 PM 9:00 PM     18    5   418 E Girard Ave          19125   18th Ward Voting System Demo
499   26-Sep-19 11:00 AM TBA        58   35   730 Byberry Rd            19116   FOP Senior Citizens Inc
500   26-Sep-19 5:30 PM 7:00 PM     26   23   3900 Gateway Drive        19145   State Rep. Maria Donatucci Voting System Demo


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        day         start       end    ward div          address                 zip                                event
501   26-Sep-19    1:45 PM     4:00 PM   13 16 1798 W Hunting Park Ave          19140   Mastery Votes
502   26-Sep-19    2:00 PM     6:00 PM   28 3 2201 N 28th                       19132   Back to School Knight
503   26-Sep-19    7:00 PM     8:30 PM   30 3 1600 Lombard St                   19146   Independence Charter School
504   26-Sep-19    9:30 AM    11:30 AM    6 6 91 N 48th St                      19139   Youth Voter Registration Day
505   26-Sep-19    5:30 PM     7:30 PM   20 3 10th & Oxford Sts                 19122   Marie Dendy Recreation Center
506   26-Sep-19    5:45 PM     6:30 PM   24 4 624 N 34th St                     19104   Mt. Vernon Manor (Phase 1)
507   26-Sep-19    9:00 AM    12:00 PM   21 17 5800 Ridge Ave                   19128   Rep. DeLIssio's Senior Expo
508   26-Sep-19    8:00 AM    10:00 AM   31 11 2501 Kensington Ave              19125   Grandparents Day
509   26-Sep-19    6:30 PM     8:30 PM   52 7 3955 Conshohocken Ave             19131   Quarterly Meeting
510   26-Sep-19    6:00 PM     7:30 PM    4 14 5700 Haverford Ave               19131   Representative Cephas Voting System Demo
511   26-Sep-19    7:30 PM   TBA         15 18 860 N 24th St                    19130   Fairmount Civic Assocation - The City School
512   26-Sep-19    6:00 PM     7:30 PM   52 24 5425 Upland Way                  19131   Summer Jazz Series - Triangle Park
513   26-Sep-19    6:30 PM     8:30 PM   30 9 19th and Fitzwater St             19146   SOSNA General Meeting
514   26-Sep-19    7:00 PM     9:00 PM   50 28 7210 Ogontz Ave                  19138   10th Ward Meeting
515   26-Sep-19    6:00 PM     7:30 PM   20 6 1300 W Jefferson St               19121   20th Ward Voting System Demo
516   27-Sep-19    1:00 PM     4:00 PM   14 1 1235 Spring Garden St             19123   Bebashi: Transition To Hope

517   27-Sep-19   10:00 AM 12:30 PM      52   10   2000 Belmont Mansion Drive   19131   UPMC Participant Forum
518   27-Sep-19    9:00 AM 12:00 PM       8   15   1400 JFK Blvd                19107   Jury Duty Demo
519   27-Sep-19   12:30 PM 2:30 PM       12   11   501 King St                  19144   Public Event
520   27-Sep-19   12:00 PM 4:00 PM       33   17   601 East Indiana Ave         19134   McPherson Square Library Voter Registration Event
521   27-Sep-19   12:30 PM 3:00 PM       40   11   2125 S 70th St               19142   Paschall Senior Housing
522   27-Sep-19   11:00 AM 1:00 PM        8   23   158 N 23rd St                19103   Riverside Presbyterian Apartments
523   27-Sep-19    1:00 PM 2:00 PM        6   11   4035 Parrish St              19104   Sarah Allen Senior Home
524   27-Sep-19   10:00 AM 4:00 PM        4    3   659 N 56th St                19131   Vine Memorial Baptist Church
525   27-Sep-19   10:30 AM 1:30 PM       60    3   5120 Chestnut St             19139   Southwest Division Senior Day
526   28-Sep-19    1:30 PM 3:30 PM       15   15   1933 Brandywine St           19130   1900 Block of Brandywine block party.
                                                   Belmont & Ave of the
527   28-Sep-19 7:00 AM 12:00 PM         52 1      Republic                     19131   22nd Annual Walter E. Brandon Sickle Cell 5-K Walk/Run
528   28-Sep-19 2:00 AM 4:00 PM          15 3      18th ST & Wallace St         19130   Community Festival
529   28-Sep-19 3:00 PM 5:00 PM          28 14     2808 Lehigh Ave              19132   Free Library
530   28-Sep-19 12:00 PM 1:30 PM         29 3      2925 W Flora St              19121   Humble Tabernacle of Love Church
531   28-Sep-19 11:00 AM 2:00 PM          8 7      2110 Chestnut St             19103   Lutheran Church of the Holy Communion


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        day         start     end   ward div           address              zip                                  event
532   28-Sep-19   10:00 AM 2:00 PM     6 7 722 N Preston St                19104   Community Outreach
533   28-Sep-19   12:00 PM 2:00 PM    61 21 6614 N 12th St                 19126   Oak Lane Library
534   28-Sep-19   11:00 PM 1:00 PM    43 16 11th & Venango                 19140   Play Lot Playground
535   28-Sep-19    2:00 PM 4:00 PM    16 16 2301 Edgley St                 19121   Raymond Rosen Comm. Center
536   28-Sep-19   11:00 AM 2:00 PM    36 31 1719 Morris St                 19145   St. Thomas Aquinas Voting System Demo
537   28-Sep-19   12:00 PM 2:00 PM    13 25 3600 N Broad St                19140   Zion Baptist Church Voting System Demo
538   29-Sep-19   12:30 PM 2:00 PM    20 3 1601 N 12th St                  19122   Bright Hope Baptist Church
539   29-Sep-19   11:00 AM 2:30 PM     9 6 2 Bethlehem Pike                19118   Chestnut Hill Fall for the Arts Festival
540   29-Sep-19   10:00 AM 1:00 PM    38 21 2901 N 25th St                 19132   Christ Like Baptist Church
541   29-Sep-19   12:00 PM 3:00 PM    60 5 5240 Chestnut St                19139   Community Service
542   29-Sep-19    1:00 PM 3:00 PM    32 1 25th & Montgomery Ave           19121   Morris Brown A. M. E. Church
543   29-Sep-19    2:00 PM 7:00 PM     7 1 Lehigh Ave & Mascher Sts        19133   Outdoor Festival
544   29-Sep-19    1:00 PM 3:00 PM    59 16 87 E Haines                    19144   Providence Baptist Church
545   29-Sep-19   11:30 AM 1:30 PM    49 17 1301 W Ruscomb St              19141   Second Macedonia Baptist Church
546   30-Sep-19    3:00 PM 7:00 PM    44 10 4800 Brown St                  19104   Neighborhood Advisory Sub Committee
547   30-Sep-19    1:00 PM 2:00 PM    39 10 501 Jackson St                 19148   Jackson Place Apt
548   30-Sep-19    9:00 AM 3:00 PM     8 15 1401 JFK Blvd                  19107   Municipal Services Building Voting System Demo
549   30-Sep-19    6:30 PM 8:00 PM    17 4 6344 N Broad St                 19141   St. Mark's Lutheran Church
550   30-Sep-19    3:00 PM 8:00 PM    61 19 200 W 65th Ave                 19126   Sturgis Playground
551    1-Oct-19   10:00 AM 3:00 PM     5 35 714 Market St                  19106   Adult Probation and Parole Department
552    1-Oct-19    2:00 PM 6:00 PM    42 7 169-171 W Wyoming Ave           19140   Bethel Worship Center
553    1-Oct-19   10:30 AM 11:30 AM   59 17 5818 Germantown Ave            19144   Centre on the Park Voting System Demo
554    1-Oct-19    5:00 PM 7:30 PM    49 20 1300 W Godfrey Ave             19141   Community College of Philadelphia
555    1-Oct-19    6:00 PM 8:00 PM    49 20 4901 Kingsessing Ave           19143   Kingsessing Recreation Center
556    1-Oct-19    7:00 PM 8:30 PM    26 7 2600 S Broad St                 19145   Philadelphia Performing Arts Charter School
557    1-Oct-19    6:00 PM 7:30 PM    47 6 1718 W Cecil B Moore Ave        19121   Philly NAN Voting System Demo
                                             NW Corner of 19th and North
558    1-Oct-19    6:00 PM 8:00 PM    15 16 Sts                            19130   Spring Garden Civic Association
559    2-Oct-19    9:00 AM 12:00 PM    8 15 1400 JFK Blvd                  19107   Jury Duty Demo
560    2-Oct-19    7:00 PM TBA        63 11 8540 Verree Rd                 19111   Ward Meeting
561    2-Oct-19    7:00 PM 8:00 PM     6 15 4015-17 Poplar St              19104   United Block Captains Monthly Meeting
562    2-Oct-19    5:00 PM 7:00 PM     8 7 22 S 22nd St                    19103   Phila. Joint Board/ Workers United
563    2-Oct-19    7:00 PM 9:00 PM    21 25 504 Hermit St                  19128   Kowalski Post


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       day         start      end    ward div           address                 zip                                 event
564   2-Oct-19    7:00 PM    9:00 PM   34 29 7630 Woodbine Ave                 19151   Quarterly Meeting
565   2-Oct-19   12:00 PM    4:00 PM    8 31 1901 Vine St                      19103   Free Library of Philadelphia - Parkway Central Library
566   2-Oct-19   10:00 AM   12:30 PM   16 15 2200 N 22nd St                    19132   Head Start Policy Council
567   2-Oct-19    2:00 PM    7:00 PM   52 1 1575 N 52nd St                     19131   Voter Registration Drive
568   2-Oct-19    7:00 PM    9:00 PM   18 17 1832 N Howard St                  19122   18th Ward Voting System Demo
569   3-Oct-19    6:00 PM    9:00 PM   46 10 1400 Pointe Breeze Ave            19145   Night Market
570   3-Oct-19   10:30 AM   11:00 AM    8 7 22 S 22nd St                       19103   Informational Meeting
571   3-Oct-19    1:00 PM    3:00 PM   18 17 6100 N 21st St                    19138   Corinthian Comm. & Education Center
572   3-Oct-19    6:00 PM    7:00 PM   32 15 1845 N 23rd                       19121   St. Elizabeth RCO Meeting
573   3-Oct-19    6:00 PM    7:30 PM   52 14 5301 Overbrook Ave                19131   Representative Cephas Voting System Demo
574   3-Oct-19    1:00 PM    4:00 PM   58 14 9896 Bustleton Ave                19115   Paul's Run Retirement Community
575   3-Oct-19    6:00 PM    8:00 PM    5 10 3 Penns Landing                   19106   Pier 3 Penns Landing
576   3-Oct-19    6:30 PM    8:30 PM   48 14 1939 S Bancroft St                19145   GRASP - Second District Brewing
577   3-Oct-19    5:30 PM    7:30 PM   44 16 5201 Haverford Ave                19139   Spectrum Health Services Voting System Demo
578   3-Oct-19    6:00 PM    8:00 PM   29 8 2300 Master St                     19121   Brewerytown Sharswood Coalition Monthly Meeting
579   4-Oct-19   11:30 AM    3:00 PM    5 9 315 S Broad St                     19107   Broad St. Ministry
580   4-Oct-19    9:00 AM   12:00 PM    8 15 1400 JFK Blvd                     19107   Jury Duty Demo
581   4-Oct-19    9:22 AM   12:00 PM    8 32 1699 Spring Garden Str            19130   Masterman High School

                                                                                       Councilman Taubenberger's and CareGivers America: Senior
582   4-Oct-19   10:00 AM    1:00 PM   56    8101 Bustleton Ave
                                             20                                19152   Health & Resource Expo - Palbano Recreation Center
583   4-Oct-19    7:00 PM    9:00 PM   52    4000 City Ave
                                              3                                19131   If you're woke, Vote.
584   4-Oct-19    3:00 PM    5:00 PM   44    51ST & Reno Sts
                                             16                                19139   West Mill Creek Recreation Center
585   4-Oct-19   12:00 PM    2:00 PM   52    2001 N 54th St
                                             18                                19131   Wynne Senior
586   5-Oct-19   12:00 PM    3:00 PM   34    149 N 61st St
                                              2                                19139   100 Blk. N. 61st St.
587   5-Oct-19   11:00 AM    3:00 PM   52    1500 N 50th St
                                              1                                19131   Annual Parkside Public Safety Day
588   5-Oct-19    3:00 PM    6:00 PM    6    814 N 41st St
                                              9                                19104   Voting machine demonstration
589   5-Oct-19   10:00 AM    2:00 PM   46    56th & Christian Sts
                                             13                                19143   Christy Recreation Center
590   5-Oct-19   10:00 AM    2:00 PM   38    4100 Ridge Ave
                                             15                                19127   East Falls Farmers Market
                                             Between 28th & 29th on
591   5-Oct-19 12:00 PM      3:00 PM   29 12 Girard Ave                        19130 2019 Girard Avenue Street Festival

592   5-Oct-19 11:00 AM      1:30 PM     0    0 7605 Old York Rd Elkins Park   19027 Gratz College


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       day         start    end    ward div           address              zip                                  event
593   5-Oct-19    1:00 PM 3:00 PM    40 50 70th & Lindbergh Blvd          19142   Holy Reedemer Church
594   5-Oct-19   11:00 AM 3:00 PM    34 1 6011 Market St                  19139   Home Health Care Plus
595   5-Oct-19   10:30 AM 12:00 PM   12 5 5698 Wister St                  19144   Monthly Meeting
596   5-Oct-19   12:00 PM 4:00 PM    18 13 144 W Diamond St               19122   35th Annual Festival
597   5-Oct-19   10:00 AM 1:00 PM     6 18 4700 Wyalusing Ave             19131   3rd Ward Community Event
598   5-Oct-19   12:00 PM 4:00 PM    50 15 1350 E Vernon Rd               19150   Grown Folks Fall Festival - St. Raymonds School
599   5-Oct-19    9:00 AM 1:00 PM    27 16 4308 Woodland Ave              19143   Family Matters Conference
600   6-Oct-19   10:00 AM 2:00 PM     6 18 4701 Lancaster Ave             19131   Christian Stronhold Baptist Church
601   6-Oct-19   12:00 PM 3:00 PM    60 5 5240 Chestnut St                19139   Community Service
602   6-Oct-19    6:00 PM 8:00 PM    22 12 6753 Germantown Ave            19119   Jesus Is The Way Christian Church
603   6-Oct-19    1:00 PM 3:00 PM    24 5 3500 Baring St                  19104   Metropolitan Baptist Church
604   6-Oct-19    1:00 PM 4:00 PM    52 15 6376 City Ave                  19151   Overbrook Presbyterian Church
605   6-Oct-19    3:00 PM 6:00 PM    52 10 3900 Ford Rd                   19131   Park Plaza Condominiums
606   6-Oct-19   11:30 PM 3:00 PM    52 15 2251 N 54th St                 19131   Pinn Memorial
607   6-Oct-19    2:30 PM 5:00 PM    32 23 1844 N 32nd St                 19121   Prince of Peace Baptist Church

608   6-Oct-19 7:45 AM 1:00 PM        52    7   3955 Conshohocken Ave     19131   Sharon Baptish Church Services & Voting System Demo
609   6-Oct-19 2:00 PM 4:00 PM         4   11   1542 N 56th St            19131   Church Service
610   7-Oct-19 5:00 PM 7:00 PM        34   25   6361 Lancaster Ave        19151   Monthly Chapter Meeting
611   7-Oct-19 5:30 PM 7:00 PM         6   17   1224 N 42nd St            19104   East Parkside Residence Association Meeting
612   7-Oct-19 7:30 PM 8:00 PM        12   15   5457 Wayne Ave            19144   Germantown House
613   7-Oct-19 2:00 PM 7:00 PM         5   35   701 Market St Ste 5200    19106   Intellectual Disabilities Agency Voting System Demo
614   7-Oct-19 10:15 AM TBA           64   12   2990 Saint Vincent St     19149   Tacony Mayfair Seniors Meeting
615   7-Oct-19 7:00 PM 8:30 PM        56   12   8034 Bustleton Ave        19152   meetings
616   7-Oct-19 9:00 AM 3:00 PM         8   15   1401 JFK Blvd             19107   Municipal Services Building Voting System Demo
617   7-Oct-19 4:00 PM 6:00 PM        25    5   2987 Almond St            19134   Richmond Library
618   7-Oct-19 7:00 PM TBA            21   41   7201 Ridge Ave            19128   Ridge Park Civic Assocation - Roxborough YMCA
619   7-Oct-19 11:00 AM 12:30 PM      29    7   1515 N 24th St            19121   Sharswood Towers
620   7-Oct-19 4:00 PM 5:00 PM        39   35   2101 S Broad St           19148   South Philly High School
621   7-Oct-19 4:00 PM 7:00 PM        40   12   6328 Paschall Ave         19142   Sen. Anthony Hardy Williams' Voting System Demo
622   8-Oct-19 6:00 PM 8:00 PM        19   13   2428 N Fairhill St        19133   2428 N. Fairhill St.
623   8-Oct-19 6:00 PM 7:00 PM        37    2   2231 N Broad St           19132   Monthly RCO meeting
624   8-Oct-19 6:30 PM 8:30 PM        38    1   3226 McMichael St         19129   Councilman Curtis Jones Voting System Demo


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      day         start       end    ward div           address          zip                                  event
625 8-Oct-19     2:00 PM     7:00 PM   23 16 1657 Kinsey St             19124   Campbell A M E Church
626 8-Oct-19     7:00 PM     9:00 PM   38 2 2527 W Allegheny Ave        19132   Quarterly meeting
627 8-Oct-19     6:00 PM     8:00 PM   27 19 3301 Walnut St             19104   Delegates meeting
628 8-Oct-19     6:00 PM     8:00 PM   52 12 2600 Belmont Ave           19131   Inglis House
629 8-Oct-19    10:00 AM     3:00 PM    5 35 701 Market St Ste 5200     19106   Intellectual Disabilities Agency Voting System Demo
630 8-Oct-19     7:15 PM     8:00 PM   33 3 K & Cayuga Sts              19124   Juniata Park Civic Association
631 8-Oct-19    11:00 AM    12:00 PM    8 15 1401 JFK Blvd              19102   Municipal Services Building
632 8-Oct-19    12:00 PM     2:30 PM   30 1 1525 Fitzwater St           19146   Scottish Rite House
633 8-Oct-19    10:30 AM     1:00 PM    1 17 1301 S Columbus Blvd       19147   Retirees Meeting
634 8-Oct-19    12:00 PM     3:00 PM   52 28 2627 Miflin St             19145   St. John Neumann Place II
635 8-Oct-19     6:00 PM     8:00 PM   52 28 3901 Conshohocken Ave      19131   The Pavilion Apts
636 8-Oct-19     7:00 PM   TBA          1 17 1290 Southampton Rd        19116   Somerton Civic Assocation - Walker Lodge 306 IOOF
637 9-Oct-19    11:00 AM     5:00 PM   32 19 2829 W Diamond St          19121   2829 W. Diamond St.
638 9-Oct-19    10:00 AM    12:00 PM    8 5 1606 Walnut St              19103   DC47 Retirees Chapter
639 9-Oct-19     1:45 PM     3:00 PM    4 2 5620 Wyalusing Ave          19131   Camphor Memorial Church
640 9-Oct-19    10:00 AM     2:00 PM   42 2 141 E Hunting Park Ave      19124   Concilio
641 9-Oct-19    12:30 PM     2:00 PM    1 4 1025 Mifflin St             19148   East Passyunk Community Center
642 9-Oct-19     2:00 PM     4:00 PM   59 18 6101 Morris St             19144   Four Freedoms House
643 9-Oct-19     1:00 PM     4:00 PM   60 10 5200 Pine St               19143   Global Leadership Academy
644 9-Oct-19    10:00 AM     3:00 PM    5 35 701 Market St Ste 5200     19106   Intellectual Disabilities Agency Voting System Demo
645 9-Oct-19    12:00 PM     3:00 PM   21 17 403 Rector St              19128   Journey's Way
646 9-Oct-19    11:00 AM    12:00 PM    6 14 1016 N 41st St             19104   LCFS West Philadelphia Senior Center
647 9-Oct-19     6:00 PM     8:00 PM   12 1 1100 E Chelten Ave          19138   12th Ward Voting System Demo
648 9-Oct-19     4:00 PM     6:00 PM   44 2 5353 Master St              19131   Simpson Fletcher / Conestoga
649 9-Oct-19     7:00 PM     8:30 PM   25 12 2537 E Monmouth St         19134   South Port Richmond Civic Association Meeting
650 9-Oct-19    12:00 PM     3:00 PM   48 7 2600 Moore St               19145   St John Neumann Place
651 9-Oct-19     3:00 PM     8:00 PM   61 19 200 W 65th Ave             19126   Sturgis Playground
652 9-Oct-19     2:00 PM     4:00 PM   17 20 1420 Clearview st          19141   Suffolk Manor
653 9-Oct-19     5:00 PM     8:00 PM    3 7 431 S 60th St               19139   3rd Ward Voting System Demo
654 9-Oct-19     6:00 PM     8:00 PM   36 9 1814 Wharton ST             19146   36th Ward Voting System Demo
655 10-Oct-19    4:00 PM     6:00 PM   47 5 1410 N 16th St              19121   Rep. Kenyatta Voting System Demo

656 10-Oct-19    6:00 PM    7:30 PM    52 10 2000 Belmont Mansion Drive 19131 Belmont Mansion


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        day         start    end    ward div           address                 zip                                  event
657   10-Oct-19    5:30 PM 6:30 PM    14 2 1240 N 10th St                     19122   Harrison Plaza Community Center
658   10-Oct-19   10:00 AM 3:00 PM     5 35 701 Market St Ste 5200            19106   Intellectual Disabilities Agency Voting System Demo
659   10-Oct-19   12:00 PM 4:00 PM    11 12 3401 N 20th St                    19140   Playground Demo
660   10-Oct-19   10:00 AM 1:00 PM    64 12 2990 St Vincent St                19149   Senator Tartaglione Senior Expo
661   10-Oct-19   10:30 AM 6:00 PM    45 1 4725 Richmond St                   19137   Office of State Rep. Joseph Hohenstein
662   10-Oct-19   10:30 AM 11:45 AM    4 21 5898 Lancaster Ave                19131   Office of St. Rep. Morgan Cephas Overbrook HS Demo

663 10-Oct-19 12:00 PM      2:00 PM     8 32 642 N Broad St                   19130 Philadelphia Corporation for the Aging / 2nd fl. auditorium
664 10-Oct-19 6:30 PM       7:30 PM    17 4 6300 Old York Rd                  19141 Councilman David Oh Voting System Demo
665 10-Oct-19 5:30 PM       7:30 PM    44 16 5201 Haverford Ave               19139 Spectrum Health Services Voting System Demo

666   10-Oct-19    5:30 PM 7:30 PM     40   30   8398 Lindbergh Blvd          19152   Eastwick Leadership & St. Rep Maria Donatucci Demo Event
667   10-Oct-19    6:00 PM 8:00 PM     40    5   2050 S 58th St               19143   Monthly Meeting
668   11-Oct-19    6:00 PM 8:00 PM     27   16   1414 S 47th St               19143   Woodland Playground Voting System Demo
669   11-Oct-19    2:00 PM 5:00 PM     26   20   2401 Penrose Ave             19145   Catch Behavioral Health Center
670   11-Oct-19   12:30 PM TBA         27   19   3001 Walnut St               19104   Retiree' meeting
671   11-Oct-19   10:00 AM 3:00 PM      5   35   701 Market St Ste 5200       19106   Intellectual Disabilities Agency Voting System Demo
672   11-Oct-19   11:00 AM 6:00 PM     27   17   1411 S 50th St               19143   Mount Zion Baptist Church of Philadelphia Demo
673   11-Oct-19   10:00 AM 1:00 PM     66    5   2700 Southampton Rd          19154   Senator John Sabatina Senior Expo
674   11-Oct-19   11:00 AM TBA         40   22   6916 Elmwood Ave             19142   Southwest Senior Center
675   11-Oct-19    7:00 PM 9:00 PM     52    3   4000 City Ave                19131   If you're vote
676   11-Oct-19    2:00 PM 4:00 PM     23   18   1824 Foulkrod St             19124   Whitehall Resident Council
                                                 2950 Germantown Ave / Side
677   12-Oct-19   11:00 PM 2:00 PM     37    9   entrance                     19133   Universal Hagar Spiritual Church Demo Event
678   12-Oct-19   12:30 PM 3:00 PM     16   14   2251 N 22nd St               19132   Cecil B Moore Rec Center Voting Demo
679   12-Oct-19   12:00 PM 5:00 PM     38    9   3401 Reservoir Drive         19121   Indego Neighborhood Fair
680   12-Oct-19   12:30 PM 2:00 PM     32   13   2021 W Diamond St            19121   Historical Jones Tabernacle A. M. E. Church
681   12-Oct-19    1:30 PM 3:00 PM     51    5   1201 S 51st St               19143   51st Ward Voting System Demo
682   12-Oct-19   10:00 AM 11:00 AM    49   22   800 W Olney Ave              19120   42nd Ward Meeting and Voting System Demo
683   12-Oct-19   10:30 AM 12:00 PM     6    7   647 N 42nd St                19104   Mt. Oliver Tabernacle Baptist Church Demo
684   12-Oct-19    9:00 AM 12:00 PM    52   15   54th & Wynnefield Ave        19131   52nd Ward Demo
685   12-Oct-19   11:00 AM 5:00 PM     18   16   1714 N Mascher St            19122   Philly Comosite Demo Event
686   12-Oct-19   10:00 AM 1:00 PM      3   10   520 S 61st                   19139   3rd Ward Voting System Demo


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        day     start     end  ward div           address                 zip                                 event
687   12-Oct-19
              10:00 AM 1:00 PM    3 7 431 S 60th St                      19139   3rd Ward Voting System Demo
688   12-Oct-19
              11:00 PM 1:00 PM   22 29 6400 Ardleigh St                  19119   True Light Fellowship Church
689   13-Oct-19
              11:00 AM 2:30 PM    6 9 814 N 41st St                      19104   Senator Hughes Office
690   13-Oct-19
              11:00 PM 3:00 PM   21 22 6300 Ridge Ave                    19128   Harvest Festival - Gorgas Park
691   13-Oct-19
              11:00 AM TBA        4 12 5732 Race St                      19131   Mt. Carmel Baptist Church
692   13-Oct-19
              12:00 PM 1:30 PM    9 5 8044 Stenton Ave                   19118   Youth / Teen engagement Sunday
693   13-Oct-192:30 PM 3:30 PM   60 15 5301 Spruce St                    19139   Zion Hill Baptist Church
694   14-Oct-195:45 PM 6:30 PM    6 15 1224 N 41st St                    19104   Christ Church Community Baptist Church
695   14-Oct-196:00 PM 8:00 PM    9 2 224 E Gowan Ave                    19119   Grace Epiphany Church Demo
696   14-Oct-196:00 PM 8:00 PM   22 12 6753 Germantown Ave               19119   Jesus is the Way Christian Church
                                        54th & Cedar Ave 7th Fl
697 14-Oct-19 7:15 PM 8:30 PM    46 4 Chapel                             19143 Philadelphia Mercy Hospital
698 14-Oct-19 6:30 PM 7:30 PM    48 12 2130 S 21st St                    19145 West Passyunk Neighbors Association Demo Event
699 14-Oct-19 10:00 AM 2:00 PM   46 10 5039 Baltimore Ave                19143 The Peoples Baptist Church Voting System Demo

700   15-Oct-19 3:00 PM 5:00 PM     24 6 3401 Market St ( Suite #100 )   19104   Drexel Exite Center
701   15-Oct-19 7:00 PM 8:00 PM     50 6 1000 E Hortter St               19150   50th Ward Voting Demo
702   15-Oct-19 7:00 PM 9:00 PM     52 14 5301 Overbrook Ave             19131   Councilman Curtis Jones Voting System Demo
703   15-Oct-19 5:30 PM 7:30 PM     44 13 400 N 50th St                  19139   Philadelphia Police Captains Town Hall Meeting
704   15-Oct-19 6:00 PM 7:30 PM      8 25 2 Franklintown Blvd            19103   Monthly Meeting
705   15-Oct-19 5:30 PM 7:30 PM     60 3 125 S 52nd St                   19139   Office of Sen. Anthony Williams Voting Demo
706   15-Oct-19 12:30 PM 2:30 PM    65 2 9215 Keystone St                19114   PATH INC, Vocational Program
707   15-Oct-19 7:00 PM TBA         35 5 6401 Martins Mill Rd            19111   35th and 53rd GOP Ward Demo
                                                                                 Community Health Fairs and Farmer's Market - South
708   15-Oct-19 3:00 PM 5:30 PM     36   29   1700 S Broad St            19145   Philadelphia Library
709   15-Oct-19 10:00 AM 2:00 PM    38   17   4200 WIsssahickon Ave      19129   Showing voter how to use new voting machine.
710   15-Oct-19 6:00 PM 7:30 PM     16    2   2326 N 16th St             19132   Winchester Rec. Voting Demo
711   16-Oct-19 1:00 PM 3:00 PM     65   20   9355 State Rd              19114   Delaire Landing Residents Meeting
712   16-Oct-19 9:00 AM 11:30 AM    50   10   2800 W Cheltenham Ave      19150   Enon Tabernacle Baptist Church
713   16-Oct-19 3:00 PM 7:00 PM     28    8   2450 W Sergeant St         19132   New Life Missionary Freewill Baptist Church Demo
714   16-Oct-19 12:00 PM 3:00 PM    13   18   1717 W HUnting Park Ave    19140   13th Ward Voting System Demo
715   16-Oct-19 2:00 PM 4:00 PM     34   25   6376 City Ave              19151   Overbrook Presbyterian Church Voting System Demo
716   16-Oct-19 10:30 AM 1:00 PM     8   10   1816 Chestnut St           19103   General membership meeting


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        day         start      end    ward div             address             zip                              event
717   16-Oct-19   12:00 PM    2:00 PM   59 16 38 E Price St                   19144 Polite Temple Baptist Church Voting Demo
718   16-Oct-19    2:00 PM    3:00 PM   58 20 650 Edison Ave                  19116 Somerton Center
719   16-Oct-19   12:00 PM    3:00 PM   52 18 2001 N 54th St                        Wynne Residence
720   17-Oct-19   12:00 PM    4:00 PM    8 34 100 S Broad St                  19102 Senior Citizens Day/ Union Members
721   17-Oct-19    6:00 PM    8:00 PM   34 7 6010 Lansdowne Ave               19151 6010 Lansdowne Ave.
722   17-Oct-19   12:00 PM    2:30 PM    0 0 864 Main St                      19023 APWU Local #89 Union Hall
723   17-Oct-19    7:00 PM    9:30 PM    0 0 864 Main St                            Informational meeting
724   17-Oct-19    6:30 PM    8:00 PM   65 4 5100 S Convent Ln                19114 Bakers Bay / Club House
725   17-Oct-19    6:00 PM    8:00 PM   40 19 2401 S 67th St                  19143 Councilman Kenyatta Johnson Voting Demo
726   17-Oct-19    6:00 PM    7:30 PM   24 16 772 N 38th St                   19104 Mantua Civic Association - Church of Faith
727   17-Oct-19    6:00 PM    8:00 PM    5 9 330 S 13th St                    19107 Church of St. Luke and the Epiphany
728   17-Oct-19    6:30 PM    8:30 PM   34 15 6101 W Oxford St                19151 Councilman Curtis Jones Voting System Demo
729   17-Oct-19    6:30 PM    8:00 PM   56 10 7701 Loretto Ave                19111 Rhawnhurtst Civic Monthly Meeting
730   17-Oct-19    6:30 PM    8:00 PM   38 1 2800 Fox St                      19129 38th Ward Meeting
731   17-Oct-19    7:00 PM    9:00 PM    5 1 261 St James Pl                  19106 Society Hill Towers
732   17-Oct-19    5:30 PM    7:30 PM   44 16 5201 Haverford Ave              19139 Spectrum Health Services Voting System Demo
                                               Polett & Liacouras Wk / 1900
733   17-Oct-19    4:00 PM    6:00 PM   20 9 N 13th St                        19122   Temple University's New Library Opening
734   17-Oct-19    9:00 AM   11:00 AM   50 1 8500 Pickering St                19150   Kitchen Of Love Food Pantry Voting Demo
735   17-Oct-19    5:00 PM    7:30 PM   13 16 1648 W Hunting Park Ave         19140   13th Ward Voting System Demo
736   17-Oct-19   12:00 PM    6:00 PM   47 3 1400 N Broad St                  19121   47th Ward Voting Demo
737   18-Oct-19    3:00 PM    4:30 PM   48 23 3001 Moore St                   19145   3001 Moore St.
738   18-Oct-19   11:00 AM    1:00 PM    5 22 1300 Lombard St                 19147   Casa Farnese Apartments
739   18-Oct-19    8:00 AM    3:30 PM    5 24 801 Market St                   19107   2019 Annual Philadelphia Autism Project Conference
740   18-Oct-19   10:30 AM   12:30 PM   59 16 123 E Price St                  19144   Face to Face Org. Meeting
741   18-Oct-19   10:30 AM   11:30 AM   18 1 1340 Frankford Ave               19125   Office of St. Rep Malcolm Kenyatta Demo
742   18-Oct-19    1:00 PM    5:00 PM   40 30 2946 Island Ave                 19153   Eastwick United Meeting
743   18-Oct-19    1:00 PM    3:00 PM   48 21 2506 Jackson St                 19145   Wilson Park Residents Council Meeting
744   19-Oct-19   10:00 AM    1:00 PM   61 22 6901 Old York Rd                19126   Bromley House
745   19-Oct-19    4:00 PM    6:00 PM   46 17 801 S 48th St                   19143   Calvary Center for Culture and Community
746   19-Oct-19   12:00 PM    2:00 PM   36 21 2421 Dickinson St               19146   Church of the Redeemer
747   19-Oct-19   11:00 AM   12:30 PM    8 15 1400 JFK Blvd                   19107   Breaking Barriers Org. Voting Demo
748   19-Oct-19    9:00 PM    3:00 PM   50 10 2800 W Cheltenham Ave           19150   Enon Tabernacle Demo


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        day         start       end    ward div           address           zip                                 event
749   19-Oct-19    1:00 PM     3:00 PM   13 2 4700 Wayne Ave               19144   13th Ward Voting System Demo
750   19-Oct-19    4:00 PM     8:00 PM    6 6 761 N 47th St                19131   Lucien Blackwell Center Voting Demo
751   19-Oct-19    1:00 PM     3:00 PM    4 8 5539 Vine St                 19139   Mt. Pleasant Baptist Church Voting Demo
752   19-Oct-19   12:00 PM     3:00 PM   49 5 4301 N Broad St              19140   Price Hall Masonic Temple
753   19-Oct-19   10:00 AM     3:00 PM   50 12 1215 E Vernon Rd            19150   Reformation Lutheran Church Voting Demo
754   19-Oct-19    9:30 AM     2:00 PM   52 5 5701 Wynnefield Ave          19131   Office of St. Senator Hughes Voting Demo
755   19-Oct-19   12:00 PM     4:00 PM   12 9 5421 Germantown Ave          19144   Team Caribe Feeding Voting Demo
756   19-Oct-19   12:00 PM     3:00 PM    9 6 16 E Highland Ave            19118   Witches and Wizards 2019
757   20-Oct-19    8:30 AM    12:30 PM    8 15 641 Lindley ave             19120   49th Ward Voting System Demo
758   20-Oct-19    2:30 PM     5:00 PM    4 8 215 n 57th St                19139   St. Matthew A.M.E. Church Demo
759   20-Oct-19   10:00 AM     2:00 PM   34 25 6361 Lancaster Ave          19151   Office of St. Rep. Morgan Cephas Voting Demo
760   21-Oct-19    6:00 PM     7:30 PM    4 4 1249 N 55th St               19131   Alleyne Memorial A M E Zion Church
761   21-Oct-19    6:30 PM     8:00 PM   15 10 1737 Francis St             19130   Francisville Recreation Center
762   21-Oct-19    4:00 PM     8:00 PM   22 11 6945 Germantown Ave         19119   Mount Airy Monday Market
763   21-Oct-19    7:30 PM     9:00 PM   24 5 3500 Baring St               19104   PoweltonVillage Civic Association Meeting
764   21-Oct-19    9:00 AM     3:00 PM    8 15 1401 JFK Blvd               19107   Municipal Services Building Voting System Demo
765   21-Oct-19   11:00 AM     1:00 PM   13 16 3975 Germantown Ave         19140   Nazerene Baptist Church
766   21-Oct-19    4:00 PM     6:00 PM   14 9 6th St Girard Ave            19123   Ramonita DeRodriguez Library Demo Event
767   21-Oct-19   11:30 AM     1:30 PM    1 3 1430 E Passyunk Ave          19147   South Philadelphia Older Adult Center
768   21-Oct-19    7:00 PM     9:00 PM   52 3 4000 City Ave                19131   If you woke& Motivation Monday
769   21-Oct-19    5:00 PM     7:30 PM   60 1 4501 Chestnut St             19131   Community Meeting
770   22-Oct-19    7:00 PM   TBA         66 22 4501 Woodhaven Rd           19154   Nick's Roast Beef at Katie O's
771   22-Oct-19    1:30 PM     3:30 PM   36 25 1701 S 28th St              19145   Anthony Wayne Senior Housing
772   22-Oct-19   10:00 AM    11:30 AM   66 5 2701 Southampton Rd          19154   Delaware Valley Veterans Home
773   22-Oct-19    6:00 PM     8:00 PM   43 18 3914 N 6th St               19140   43rd Ward Meeting and Demo
774   22-Oct-19    6:00 PM     7:30 PM    8 30 1924 Spring Garden St       19130   Chapter Board Meeting
775   22-Oct-19    1:00 PM     3:00 PM   22 3 315 W Johnson St             19144   The Apts at Cliveden
776   22-Oct-19   10:00 AM     2:00 PM   38 17 4200 Wissahickon Ave        19129   The Salvation Army Voting System Demo
777   23-Oct-19    3:00 PM     6:00 PM   60 6 137 S 58th St                19153   137 S. 58th St. The Consortium )
778   23-Oct-19   11:00 AM     5:00 PM   32 19 2829 W Diamond St           19121   Strawberrry Mansion NAC Meeting
779   23-Oct-19   10:00 AM    12:00 PM    8 5 1606 Walnut St               19103   DC47 Retirees Membership Meeting
780   23-Oct-19    7:30 PM     8:30 PM   58 23 2060 Red Lion Rd            19115   Bustleton Civic Association Monthly Meeting
781   23-Oct-19   12:00 PM     2:00 PM    5 35 801 Market St / 7th Floor   19107   Comminity Behavioral Health


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        day         start     end    ward div          address                 zip                               event
782   23-Oct-19    2:00 PM   7:00 PM   34 24 1100 N 63rd St                   19151   Kimbell Funeral Home
783   23-Oct-19    7:00 PM   8:30 PM   22 11 6945 Germantown Ave              19119   Northwest Village Network - Lovett Memorial Library
784   23-Oct-19    7:00 PM   9:00 PM   57 17 9151 Academy Rd                  19135   Penn Crisp
785   23-Oct-19    5:30 PM   7:00 PM   41 6 6447 Torresdale Ave               19135   41st Ward Meeting
786   23-Oct-19    6:00 PM   7:30 PM   15 19 641 N 24th St                    19130   State Rep. Donna Bullock' Voting System Demo
787   23-Oct-19    5:30 PM   7:30 PM   36 4 2300 Wharton St                   19146   Sen. Anthony Williams' Voting System Demo

788   24-Oct-19    6:00 PM   8:00 PM   17    9   6100 N 21st St               19138   Corinthian Comm & Education Center Voting System Demo
789   24-Oct-19    6:30 PM   8:00 PM   59   15   6001 Germantown Ave          19144   First United Methodist Church of Germantown
790   24-Oct-19    3:00 PM   4:30 PM   43   13   3301 Old York Rd             19140   M. M. Bethune
791   24-Oct-19    7:00 PM   9:00 PM    6    3   428 N 41st St                19104   Mt. Pisgah A M E Church
792   24-Oct-19    9:30 AM   1:00 PM    8   25   1425 Arch St 1st FL          19102   ORP / Rise Philadelphia Voting Demo
793   24-Oct-19    6:00 PM   8:00 PM   16   16   2301 Edgley St               19121   Jobs Plus Event
794   24-Oct-19    3:00 PM   6:00 PM   60    4   5429 Chestnut St             19139   Senior Citizens Residence
795   24-Oct-19    5:30 PM   7:30 PM   44   16   5201 Haverford Ave           19139   Spectrum Health Services Voting System Demo
796   24-Oct-19    3:00 PM   7:00 PM   15    6   2401 Pennsylvania Ave        19130   The Philadelphian
797   25-Oct-19    2:00 PM   4:00 PM   14    8   1100 Poplar St               19123   John Street Community Center
798   25-Oct-19   11:00 AM   2:00 PM   47   12   1776 N Broad St              19121   Council President Darrell Clarke's Senior Event
799   26-Oct-19   10:00 AM   2:00 PM   49    5   4541 N Broad St              19140   4541 N. Broad St.
800   26-Oct-19    1:00 PM   3:00 PM   28    2   2229 N 29th St               19132   Dauphin Street Baptist Church Demo Event
801   26-Oct-19   11:00 AM   5:00 PM   60   19   266 S 58th St                19139   G I S Garden Memorial Tribute
802   26-Oct-19    9:00 AM   2:00 PM   35    7   6418 Rising Sun Ave          19111   Loving Hand Ministry
803   26-Oct-19    4:00 PM   6:00 PM   41    3   5700 Torresdale Ave          19124   41st Ward Halloween Family Night
804   26-Oct-19   12:00 PM   3:00 PM    9   12   7500 Germantown Ave          19119   St. Rep. Chris Rabb's Office Voting Demo
805   26-Oct-19   12:00 PM   3:00 PM   44   18   550 N 52nd St                19151   Office of Movita Johnson-Harrell Voting System Demo
806   26-Oct-19   12:30 PM   3:00 PM   52   13   4910 Wynnefield Ave          19131   52nd Ward Voting Demo
807   26-Oct-19   10:00 AM   1:00 PM   51   14   5220 Whitby Ave              19143   Comqueros Community Senior Fair
                                                                                      Meet the Candidates at Congregations of Shaare Shamayim
808   27-Oct-19 9:30 AM 11:30 AM       58   13   9768 Verree Rd               19115   Synagogue
809   27-Oct-19 1:00 PM 2:00 PM        16   17   2521 N 23rd St               19132   Love Zion Baptist Church Voting System Demo
810   27-Oct-19 9:00 PM 1:00 PM        13    5   312 W Manheim St             19144   New Hope Temple Baptist Church
811   27-Oct-19 12:00 PM 2:00 PM       42   19   5532 Rising Sun Ave          19120   New Horizon Baptist Church Voting Demo
812   27-Oct-19 3:00 PM 5:00 PM        61   25   406 W Chelten Ave            19144   Philadelphia Hair Artistry, Inc. Voting System Demo


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        day       start     end    ward div           address           zip                                event
813   27-Oct-19 5:30 PM    6:45 PM    5 9 330 S 13th St                19107   Dignity Philadelphia Voting Demo
814   28-Oct-19 5:00 PM    7:00 PM   37 1 2259 N 10th St               19133   37th Ward Voting System Demo
815   28-Oct-19 6:00 PM    7:00 PM   65 7 5001 Linden Ave              19114   65th Ward Voting Demo
816   29-Oct-19 1:00 PM    3:00 PM    7 4 3150 N Mascher St            19133   Councilwoman Sanchez Field Office Voting Demo
817   29-Oct-19 6:00 PM    8:00 PM   29 5 2438 Ridge Ave               19121   First Immanuel Baptist Church
818   29-Oct-19 12:30 PM   1:30 PM   21 33 201 Spring Lane             19128   Lankenau Mock Election
819   29-Oct-19 10:00 AM   2:00 PM   38 17 4200 Wissahickon Ave        19129   The Ray and Joan Kroc Center Demo
820   30-Oct-19 3:00 PM    5:00 PM   52 17 5100 Lebanon Ave            19131   52nd Ward Voting Demo

                                                                               Councilman Taubenberger's and CareGivers America: Senior
821   30-Oct-19 10:00 AM 1:00 PM     57 1 9130 Academy Rd              19114   Health & Resource Expo - Cannstatter Volkfest Verein
822   30-Oct-19 11:30 AM 12:30 PM     8 5 1606 Walnut St               19103   District Council #47
823   30-Oct-19 3:00 PM TBA          63 7 8580 Verree Rd               19111   Holy LaFayette-Redeemer
824   30-Oct-19 6:00 PM 8:00 PM      60 9 5026 Spruce St               19145   Barrier Breaking Org. Voting Demo
825   31-Oct-19 5:30 PM 7:30 PM      44 16 5201 Haverford Ave          19139   Spectrum Health Services Voting System Demo
826   31-Oct-19 4:00 PM 6:30 PM      40 5 5736 Chester Ave             19143   191st Legislative District Event and Demo

827 31-Oct-19   6:00 PM    8:00 PM   29   8 2300 W Master St           19121 Brewerytown Sharswood Coalition - Vaux Promise Academy




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